 AFFIDAVIT IN SUPPORT OF APPLICATION FOR A SEARCH WARRANT AND
            CRIMINAL COMPLAINT AND ARREST WARRANT

      I, Cory P. McManus, being first duly sworn, hereby depose and state as follows:


I.   INTRODUCTION
 1. I make this affidavit in support of an application for a criminal complaint charging:
            a.      Patrick JOHNSON (YOB 1984) with Wire Fraud in violation of 18 U.S.C.
     § 1343, Bank Fraud in violation of 18 U.S.C. § 1344, Conspiracy to Commit Wire Fraud
     and Bank Fraud in violation of 18 U.S.C. § 1349, and Aggravated Identity Theft in
     violation of 18 U.S.C. § 1028A.
            b.      Terrance RICHARDSON (YOB 1991) with Bank Fraud in violation of 18
     U.S.C. § 1344, Wire Fraud in violation of 18 U.S.C. § 1343, Conspiracy to Commit Wire
     and Bank Fraud in violation of 18 U.S.C. § 1349, and Aggravated Identity Theft in
     violation of 18 U.S.C. § 1028A.
            c.      Richard KOBOI (YOB 1995) with Bank Fraud in violation of 18 U.S.C. §
     1344, Wire Fraud in violation of 18 U.S.C. § 1343, Conspiracy to Commit Wire and
     Bank Fraud in violation of 18 U.S.C. § 1349, and Aggravated Identity Theft in violation
     of 18 U.S.C. § 1028A.
 2. I also make this affidavit under Rule 41 of the Federal Rules of Criminal Procedure in
     support of an application for search warrants for the search of the following premises,
     cellphones and digital storage devices, and vehicle:
            a.      211 Hanover Street, Apt 1, Providence, RI (hereinafter referred to as
     “SUBJECT PREMISES 1”), and any safes, lockers and closed containers therein and any
     outbuildings associated with 211 Hanover Street, Providence, RI, as more particularly
     described in Attachment A-1 (attached hereto and incorporated herein by reference),
     including any person present at the time the search warrant is executed, for the items
     described in Attachment B-1.
            b.      439 Admiral St, Apt 3, Providence, RI (hereinafter referred to as
     “SUBJECT PREMISES 2”), and any safes, lockers and closed containers therein and any
     outbuildings associated with 439 Admiral St, Apt 3, Providence, RI , as more particularly
     described in Attachment A-2 (attached hereto and incorporated herein by reference),

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including any person present at the time the search warrant is executed, for the items
described in Attachment B-2.
        c.     91 Hartford Ave., Apt 131, Providence, RI (hereinafter referred to as
“SUBJECT PREMISES 3”), and any safes, lockers and closed containers therein and any
outbuildings associated with 91 Hartford Ave., Apt 131, Providence, RI, as more
particularly described in Attachment A-3 (attached hereto and incorporated herein by
reference), including any person present at the time the search warrant is executed, for the
items described in Attachment B-3.
        d.     The cellular telephone associated with telephone number (401) 677-9165
(TARGET PHONE #1), currently anticipated to be in the possession of Terrance
RICHARDSON, and any cellular telephones or digital storage devices he may have on
his person, and the extraction from that property of electronically stored information
described in Attachment B-2.
        e.     The cellular telephone associated with telephone number (267) 854-9972
(TARGET PHONE #2), currently anticipated to be in the possession of Richard KOBOI,
and any cellular telephones or digital storage devices he may have on his person, and the
extraction from that property of electronically stored information described in
Attachment B-3;
        f.     The cellular telephone associated with telephone number (401) 648-5717
(TARGET PHONE #3), currently anticipated to be in the possession of Patricia
JOHNSON, and any cellular telephones or digital storage devices she may have on her
person, and the extraction from that property of electronically stored information
described in Attachment B-1.
        g.     A silver Chevrolet Colorado bearing CA registration 37035X2 (TARGET
VEHICLE) registered to Hertz Vehicles, LLC out of Los Angeles, CA, for the items
described in Attachment B-3.
        I further make this affidavit in support of an application for search warrants under
Federal Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c)(l)(A) for:
   a.   information about the location of the cellular telephone assigned telephone
        number (401) 677-9165, with International Mobile Subscriber Identity Number
        310260270097507 (“TARGET PHONE #1"). The phone service provider for


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                TARGET PHONE 1 is T-Mobile, a wireless service provider located in
                Parsippany, New Jersey. The subscriber information is Agretta Richardson, 21
                Milk St, Providence, RI 02905 and was activated in July of 2019. TARGET
                PHONE #1 is described herein and in Attachment C-1, and the location
                information to be seized is described herein and in Attachment D.
           b.   information about the location of the cellular telephone assigned telephone
                number (267) 854-9972, (“TARGET PHONE #2"). The phone service provider
                for TARGET PHONE #2 is T-Mobile, a wireless service provider located in
                Parsippany, New Jersey. Due to this phone being a Tracfone 1, there is no
                subscriber information associated with the phone number. TARGET PHONE #2
                is described herein and in Attachment C-2, and the location information to be
                seized is described herein and in Attachment D.
    3. Because this warrant seeks the prospective collection of information, including cell-site
       location information, that may fall within the statutory definitions of information
       collected by a “pen register” and/or “trap and trace device,” see 18 U.S.C. § 3127(3) &
       (4), the requested warrant is designed to also comply with the Pen Register Act. See 18
       U.S.C. §§ 3121-3127. The requested warrant therefore includes all the information
       required to be included in an order pursuant to that statute. See 18 U.S.C. § 3123(b)(1).
    4. The court has jurisdiction to issue the proposed warrant because it is a “court of
       competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a
       district court of the United States that has jurisdiction over the offense being investigated,
       see 18 U.S.C. § 2711(3)(A)(i).
    5. The statements contained in this Affidavit are based on my personal observations, my
       training and experience, information obtained from other agents, witnesses, and records
       obtained during the course of the investigation. Because I submit this Affidavit for the
       limited purpose of showing probable cause, I have not included in this Affidavit each and
       every fact that I have learned in this investigation. Rather, I have set forth only facts
       sufficient to establish probable cause to issue an arrest warrant and search warrant for the


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 Tracfone Wireless is a mobile virtual network operator (MVNO) that provides both prepaid
service and variety of branded smartphones to use with their service. They do not have any
contracts and all airtime has unlimited carry over for talk, text, and data.
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          individuals and premises identified herein. Unless specifically indicated otherwise, all
          conversations and statements described in this affidavit are related in substance and in
          part only.

 II.      AFFIANT BACKGROUND
    6. I have been a law enforcement officer for over 17 years and have been a United States
          Postal Inspector since July 2017. I am currently assigned to the Providence, Rhode
          Island field office of the United States Postal Inspection Service and I am responsible for
          the investigation of various crimes relating to the United States Mail including, but not
          limited to mail fraud, bank fraud, identity theft, and mail theft. Prior to my appointment
          as a Postal Inspector, I was a Special Agent with the United States Secret Service for
          approximately 13 years. I have received training in conducting investigations of crimes
          that adversely affect, or fraudulently use, the United States Mail and the United States
          Postal Service (USPS). I have participated in criminal investigations of various
          violations of Title 18 of the United States Code involving financial crimes, including
          mail, bank, and wire fraud, identity theft, money laundering, and computer crimes. In the
          course of my employment I have received training and have been involved in the use of
          investigative techniques such as interviewing victims, informants, and witnesses,
          conducting physical surveillance, and analyzing financial records. I have participated in
          and executed several search and arrest warrants.


III.      PROBABLE CAUSE
       7. As set forth in this Affidavit, the U.S. Attorney’s Office for the District of Rhode Island,
          the U.S. Postal Inspection Service (USPIS) and the Federal Bureau of Investigation (FBI)
          have been investigating a scheme in which the perpetrators mailed out counterfeit Home
          Equity Line Of Credit (HELOC) checks to individuals throughout the country. From
          Post Office (PO) surveillance videos, we were able to identify Patrick JOHNSON as the
          individual mailing counterfeit checks on November 20, 2019, from the Olneyville PO,
          November 26, 2019, from the Olneyville PO, and December 23, 2019, from the Elmwood
          PO.




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8. In addition to these HELOC counterfeit check mailings to individuals throughout the
   country, the investigation revealed that Patrick JOHNSON, as well as Terrance
   RICHARDSON a.k.a. Teebone Juheard, and Richard KOBOI a.k.a. Sunnyboy Taylor
   were providing counterfeit checks, including those drawn upon businesses, to individuals
   whose banks accounts they were using to deposit the funds, and/or depositing the checks
   themselves into the individuals’ bank accounts, then causing the funds to be withdrawn.
   Not only were they using other individuals’ bank accounts, bank records for
   RICHARDSON and KOBOI’s bank accounts as well bank surveillance videos also show
   that they were depositing the counterfeit checks into their own accounts and/or
   withdrawing these funds.
9. Facebook records associated with RICHARDSON and KOBOI further showed that
   RICHARDSON and KOBOI solicited individuals with bank account information in this
   counterfeit check cashing scheme. Patricia JOHNSON, the daughter of Patrick
   JOHNSON, was one of the individuals whose bank account was used with her assistance
   to deposit a counterfeit check. In addition, the funds of a separate counterfeit check
   transaction were used to purchase two postal money order made payable to Patricia
   JOHNSON’s whose driver’s license was presented during that transaction.
10. In addition, Terrance RICHARDSON used the name of a real individual on a counterfeit
   check and the real individual’s debit card information to deposit a counterfeit check into
   that individual’s bank account, Richard KOBOI used the name and forged signature of
   real individual in an attempt to deposit a U.S. Treasury check into KOBOI’s own bank
   account, and Patrick JOHNSON also used the name and identifying information of a real
   individual in a credit application in an attempt to fraudulently obtain a credit card in the
   victim’s name.
                     COUNTERFEIT HELOC CHECK MAILINGS
11. A home equity line of credit, also known as a HELOC, is a line of credit secured by your
   home that gives you a revolving credit line to use for large expenses or to consolidate
   higher-interest rate debt on other loans such as credit cards. A HELOC often has a lower
   interest rate than some other common types of loans, and the interest may be tax
   deductible. Most banks offer a number of different ways to access those funds, whether



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   it’s through an online transfer, writing a check, or using a credit card connected to your
   account.
12. In January 2020, a Pawtucket Credit Union (CU) Bank investigator notified USPIS Postal
   Inspector Cory McManus and FBI Special Agent Matt Riportella regarding several
   Pawtucket CU customers who had their account information compromised. The
   investigator advised Inspector McManus and Agent Riportella that in December 2019,
   two customers, JF and SP, reported three checks which they did not write, were presented
   for payment and negotiated against their HELOC accounts. One check was in the
   amount of $59,000.00 and payable to “Harvest Company.” The two other checks were in
   the amount of $34,500.00 made payable to VF and $29,000.00 made payable to SW. A
   review of the checks revealed they lacked a seal and specific wording that appear on
   genuine Pawtucket CU HELOC checks and were deemed counterfeit. The customers
   were contacted and stated they had not lost nor had any HELOC checks stolen and that
   they had received all their monthly statements. The checks were returned to the financial
   institutions that had negotiated them and the funds were returned to Pawtucket CU thus
   enabling Pawtucket CU to reimburse the customers.
13. On January 14, 2020, the Pawtucket CU Bank investigator was able to speak with two
   other financial institutions as well as an individual who received one of the
   aforementioned checks. The individual, later identified as JW, brought the check to his
   bank and had concerns regarding the legitimacy of the check due to his old account
   number being written on the front of the check. After confirming that the check was
   indeed legitimate, Regions Bank opened a new account for JW and placed a seven day
   hold on the check due to the customer’s concern. The investigator stated to me from his
   conversations with JW, it appeared that he was an unwitting participant and that JW was
   advised by the investigator that law enforcement would be contacting him in the near
   future to gather additional information.
14. On January 15, 2020, I spoke to JW who had received the counterfeit Pawtucket CU
   HELOC check in the amount of $59,000 made payable to “Harvest Company”. JW
   stated the check arrived via a USPS Priority Mail envelope which bore a return address in
   Providence, RI and which contained no other paperwork. JW believed the check was a
   donation to his church and attempted to deposit it at his bank. Several days later, JW was


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           notified that the check was indeed counterfeit. JW stated that, to this day, he has not
           received any correspondence from anyone regarding this check. On February 10, 2020
           and March 5, 2020, follow-up calls and texts made to JW to collect additional
           information were met with negative results.
      15. Using proprietary US Postal databases, I learned that the tracking number associated with
           the envelope mailed to JW was mailed from the Elmwood (RI) Post Office (PO) on
           December 23, 2019 between 11:14AM-11:17AM. Additionally, a receipt of the
           transaction revealed five additional envelopes were mailed to various individuals
           throughout the country on the same date and time. All six envelopes which were mailed
           out had the same weight (.0625 lbs.) and postage amount ($7.35). Video surveillance
           from the Elmwood PO on December 23, 2019, between 11:14AM-11:17AM, showed a
           black male with long braided hair wearing a gray sweater, later identified as PATRICK
           JOHNSON, conducting the transaction while talking on a cell phone. The receipt from
           the aforementioned transaction revealed that the transaction was paid for with a debit
           card issued to Whayee Sarkpah-Johnson of 211 Hanover Street, Providence, RI. The six
           mailings were addressed to the following individuals/company and Pawtucket CU bank
           records revealed counterfeit HELOC checks were also made payable to the same
           individuals/company around the same date of the mailings:
      December 23, 2019 Mailings from Elmwood PO with JOHNSON on Surveillance Video
                                                                           SENDER NAME                             CHECK
                                                                                            ADDRESSEE NAME FROM
    MAILING DATE   MAILING TIME     POST OFFICE         TRACKING #         FROM MAILING                           AMOUNT
                                                                                              MAILING ENVELOPE:
                                                                             ENVELOPE

    23-Dec-2019    11:14-11:17 AM   ELMWOOD PO    9505511924419357268059   GEOFFREY LECAM          GD 2           $68,500.00

    23-Dec-2019    11:14-11:17 AM   ELMWOOD PO    9505511924419357268028   JOHN FRACASSO     HARVEST COMPANY      $59,000.00

    23-Dec-2019    11:14-11:17 AM   ELMWOOD PO    9505511924419357268073    MARK ALBERT             KC            $52,000.00

    23-Dec-2019    11:14-11:17 AM   ELMWOOD PO    9505511924419357268042    STEVEN GRAFF            MT            $72,000.00

    23-Dec-2019    11:14-11:17 AM   ELMWOOD PO    9505511924419357268066   SUSAN BUTTRICK           ER 3          $85,000.00




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 On 11/19/19, an envelope (Tracking # 9505515251839323180854) containing a Union Bank &
Trust HELOC check was mailed to GD from the Irvington (NJ) Post Office. On 11/21/19, GD
deposited Union Bank & Trust #259 in the amount of $43,800.00 into his JP Morgan Chase
Bank account.
3
 On 1/7/20, an envelope (Tracking # 9505512961420007296993) containing a Union Bank &
Trust HELOC check was mailed to ER from the Waban (MA) Post Office. On 1/13/20, ER
                                                                 7
    23-Dec-2019   11:14-11:17 AM   ELMWOOD PO   9505511924419357268035   ILLEGIBLE   RD 4   UNKNOWN




      16. On January 30, 2020, Inspector Littlejohn (USPIS) and I responded to 211 Hanover
           Street in Providence, RI to interview Whayee Sarkpah-Johnson. Rhode Island DMV
           records also show Whayee Sarkpah-Johnson’s address listed as 211 Hanover St,
           Providence, RI. I knocked on the front exterior door and a young female, who identified
           herself as Sarkpah-Johnson’s daughter, informed me that her mother was at work. When
           questioned what this was regarding, I informed her that someone may be fraudulently
           using her mother’s debit card. The young female asked if she could see a picture of the
           person using her mother’s debit card to which we agreed. After reviewing a still image
           taken during the December 23, 2019 transaction at the Elmwood PO, the young female
           identified the individual as her father, Patrick JOHNSON.
      17. Rhode Island DMV records for Patrick JOHNSON obtained subsequent to the interview
           confirmed JOHNSON is the same person from the December 23, 2019 transaction, and
           listed an address of 40 Sterling Ave, Providence, RI. A criminal check for JOHNSON
           revealed a 2010 federal conviction for felon in possession of a firearm for which he was
           sentenced to 37 months imprisonment with 3 years of supervised release and 2006
           conviction for possession with intent to distribute a controlled substance for which he
           received a 5 year suspended sentence with 5 years of probation. In addition, I later
           identified the young female answering the door at 211 Hanover St. as Patricia JOHNSON
           by her RI DMV photograph. A criminal check for Patricia JOHNSON revealed no
           criminal history.
      18. Further investigation revealed that three other financial institutions, Bethpage Federal
           Credit Union, Union Bank & Trust and Village Bank, reported customers who had their
           HELOC account information compromised. Additionally, several of these HELOC
           checks were sent to individuals who had either received a counterfeit Pawtucket Credit

deposited Union Bank & Trust #125 in the amount of $125,000.00 into his Bank of America
account.
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  On 11/20/19, an envelope (Tracking #9505510694119324226895) containing a Union Bank &
Trust HELOC check was mailed by JOHNSON, as shown by PO surveillance video, to RD from
the Olneyville (RI) Post Office. On 11/25/19, RD Union Bank & Trust #581 in the amount of
$19,200.00 into his Carrollton Bank account.
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        Union check or a mailing from Patrick JOHNSON sent on December 23, 2019. One of
        the counterfeit Bethpage Federal Credit Union HELOC check included a check dated
        October 14, 2019, from M.A.’s account in the amount of $8,500.00 made payable to
        Individual #1. Individual #1 was later interviewed as more fully elaborated below and
        identified Patrick JOHNSON as the individual who had given her the counterfeit check.
   19. A USPS address history review of individuals who received checks from one or more of
        the compromised financial institutions revealed almost all of them had received a
        mailing(s), similar in weight (.0625 lbs.) and postage amount ($7.35) around the same
        time the HELOC check was dated or deposited. Most of these mailing(s) were sent from
        post offices located in New Jersey, New Hampshire, Massachusetts, and Rhode Island.
   20. One individual, identified as RD, who received a mailing from Patrick JOHNSON as part
        of the December 23, 2019 transaction referenced in paragraph 14, had previously
        received a mailing sent to him on November 20, 2019, from the Olneyville (RI) PO. The
        November 20, 2019, mailing, with a tracking number ending in 6895, contained Union
        Bank & Trust check #581 in the amount of $19,200.00 which was deposited into RD’s
        Carrollton Bank account on November 25, 2019. The receipt from the postal transaction
        revealed three total mailings, each mailing costing $7.35 in postage and paid for in cash
        were mailed out between 2:34PM-2:36PM. Video surveillance from the Olneyville PO
        on November 20, 2019, between 2:34PM-2:36PM, revealed JOHNSON conducting the
        transaction. Video surveillance also showed JOHNSON with a cell phone appearing to
        make or receive several calls during this transaction and checking his phone while at the
        counter:
November 20, 2019 Mailings from Olyneyville PO with JOHNSON on Surveillance Video
                                                                        SENDER NAME                                 CHECK
                                                                                          ADDRESSEE NAME FROM
 MAILING DATE   MAILING TIME    POST OFFICE          TRACKING #         FROM MAILING                               AMOUNT
                                                                                            MAILING ENVELOPE:
                                                                          ENVELOPE

                                                                        Unknown at this                           $19,200.00
                                                                                                   RD
 20-Nov-2019    2:34-2:36 PM   OLNEYVILLE PO   9505510694119324226895        time

                                                                        Unknown at this                           Unknown at
                                                                                           Unknown at this time
 20-Nov-2019    2:34-2:36 PM   OLNEYVILLE PO   9505510694119324226888        time                                  this time

                                                                        Unknown at this                           Unknown at
                                                                                           Unknown at this time
 20-Nov-2019    2:34-2:36 PM   OLNEYVILLE PO   9505510694119324226871        time                                  this time




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   21. Another individual, identified as SW, who received a counterfeit Pawtucket CU check
        from SB’s account dated November 21, 2019 in the amount of $29,000.00 and made
        payable to SW, had received a mailing sent to her on November 26, 2019 from the
        Olneyville (RI) PO. The receipt from the postal transaction revealed two total mailings,
        each mailing costing $7.35 in postage and paid for in cash were mailed out between
        2:33PM-2:34PM. Video surveillance from the Olneyville PO on November 26, 2019,
        between 2:33PM-2:34PM, showed JOHNSON conducting the transaction wearing a
        black shirt with the word “STACKS” in large white block lettering. Video surveillance
        also showed JOHNSON on his cell phone when he enters the post office and showed
        JOHNSON texting on his cell phone during the transaction:
November 26, 2019 Mailings from Olneyville PO with JOHNSON on Surveillance Video
                                                                         SENDER NAME                                 CHECK
                                                                                           ADDRESSEE NAME FROM
 MAILING DATE    MAILING TIME    POST OFFICE          TRACKING #         FROM MAILING                               AMOUNT
                                                                                             MAILING ENVELOPE:
                                                                           ENVELOPE

                                                                         Unknown at this                           $29,000.00
                                                                                                    SW
 26-Nov-2019     2:33-2:34 PM   OLNEYVILLE PO   9505510694119330227572        time

                                                                         Unknown at this                           Unknown at
                                                                                            Unknown at this time
 20-Nov-2019     2:33-2:34 PM   OLNEYVILLE PO   9505510694119330227589        time                                  this time


   22. Another individual, identified as CA, who received two counterfeit Pawtucket CU
        checks, both dated December 12, 2019, had received a mailing sent to him on December
        11, 2019, from the Irvington (NJ) PO. The December 11, 2019, mailing to CA, with a
        tracking number ending in 7130, had a return name of “Renee Johnson” with an address
        of 211 Hanover Street, 2nd Flr, Providence, RI 20907 and contained the following
        checks:
                a. Pawtucket FCU check #53 in the amount of $29,000.00 which was deposited into
                   CA’s National Bank of Texas account on 12/18/19.
                b. Pawtucket FCU check #81 in the amount of $31,200.00 which was deposited into
                   CA’s Wells Fargo account on 12/17/19.
        The receipt from the postal transaction revealed four total mailings, each mailing costing
        $7.35 in postage and paid for in cash.
   23. Another individual, identified as GD, who received a mailing from JOHNSON as part of
        the December 23, 2019 transaction referenced in paragraph 14, had previously received a
        mailing sent to him on November 19, 2019, from the Irvington (NJ) PO. The mailing,


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       with a tracking number ending in 0854, contained Union Bank & Trust check #259 in the
       amount of $43,800.00 which was deposited into GD’s Chase Bank account on 11/21/19.
       The receipt from the postal transaction revealed five total mailings, each mailing costing
       $7.35 in postage and paid for in cash were mailed out between 10:12AM-10:16AM.
    24. On January 29, 2021, I interviewed an individual, identified as KC, who received a
       mailing from JOHNSON as part of the December 23, 2019 transaction referenced in
       paragraph 14. KC stated she met an individual on the dating site Zoosk a few weeks
       prior to receiving the check but couldn’t recall his name. KC stated she wasn’t expecting
       the check but when it arrived, she asked the individual what she should do with it. KC
       was instructed by the individual to deposit the check into her bank account and then
       transfer the funds to another bank account in New York. KC stated the transfer of funds
       never took place because the check was deemed counterfeit prior to her transferring any
       funds.
     INTERVIEW OF INDIVIDUAL #1 WHOSE BANK ACCOUNT WAS USED TO
                    DEPOSIT A COUNTERFEIT CHECK

    25. On June 11, 2020, Individual #1 was interviewed by Postal Inspectors regarding a
       counterfeit check that was deposited into her bank account in RI. TD Bank records for
       Individual #1 showed that a counterfeit Bethpage Federal Credit Union (Bethpage FCU)
       check had been deposited into her account on October 21, 2019.
    26. Individual #1 was shown the Bethpage FCU check dated October 14, 2019, in the amount
       of $8,500.00 made payable to her. Initially, Individual #1 indicated she did not recognize
       the check and stated she did not have an account at TD Bank. Individual #1 indicated
       that she had an account at TD Bank in the past, but someone had stolen her credit card.
       Individual #1 then admitted the check was deposited into her account at TD Bank and
       stated she received the check from Patrick JOHNSON. She described JOHNSON as a
       black male, dreadlocks and drove either a Toyota 5 or Honda.



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  Surveillance video from the Elmwood Post Office on 12/23/2019 shows JOHNSON operating a
later model Toyota Avalon. Additionally, surveillance of 211 Hanover St, Providence, RI has
observed a 2006 Toyota Avalon (RI Tag #AS194) parked in the driveway. This vehicle is
registered to JOHNSON’s wife, Whayee Sarkpah-Johnson at 100 Eliza St., Providence, RI.


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      27. Individual #1 stated JOHNSON drove her, her ex-boyfriend, and another unidentified
         male to deposit the check at TD Bank in October 2019. Individual #1 described the
         unidentified male who accompanied JOHNSON as African, had dreads, and looked like
         JOHNSON. Individual #1 stated she watched JOHNSON fill out the front portion of the
         check, had her sign it and then JOHNSON deposited the check at the TD Bank drive-thru
         using Individual #1’s debit card. When Individual #1 asked if she was going to get in
         trouble for this, she was informed that it was legit and to not ask too many questions.
      28. Individual #1 stated after JOHNSON deposited the check at TD Bank 6, JOHNSON drove
         Individual #1 to the post office in Providence 7 to purchase money orders. Individual #1
         stated she purchased two blank money orders, one for $900.00 and the other for
         $1,000.00, both of which she gave to JOHNSON.
      29. Individual #1 stated while checking her bank account several days later, she noticed that
         the Beth Page FCU check she had received had cleared and the funds were still available
         in her account. Individual #1 admitted she withdrew the remaining amount, around
         $5,000.00, and used the money to pay her rent, make some purchases at Walmart and buy
         a vehicle.
      30. Individual #1 also later showed me the unidentified male’s Facebook page that had
         accompanied her, her ex-boyfriend, and JOHNSON in the car. The unidentified male had
         the Facebook username “Teebone Juheard” and corresponding Facebook profile
         photographs.
      31. Individual #1, after providing a phone number for her ex-boyfriend, agreed to make a
         controlled phone call to her ex-boyfriend to validate her story. Individual #1 asked her
         ex-boyfriend if he remembered doing the check with Patrick (JOHNSON) to which her
         ex-boyfriend replied “yes”. Individual #1 informed her ex-boyfriend that the bank
         wanted her to pay the money back, to which her ex-boyfriend instructed her to set up a
         payment plan. Individual #1 asked her ex-boyfriend for JOHNSON’s phone number so


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 Individual #1 stated during the interview that JOHNSON deposited the check at the TD Bank
branch located on Mineral Spring Ave (North Providence, RI). Bank records revealed that the
check was actually deposited at the TD Bank branch located at 180 Westminster St in
Providence, RI.
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    United States Post Office, 24 Corliss St, Providence, RI 02904
                                                  12
         she could “do another check” to pay back the bank to which her ex-boyfriend replied “I
         don’t talk to Patrick anymore”.
      32. A review of Individual #1’s TD bank records obtained through a grand jury subpoena
         revealed the following activity:
                 -   On October 21, 2019, a deposit of the aforementioned check was made at TD
                     Bank, located at 180 Westminster St, Providence, RI, at 11:24 AM.
                 -   On October 23, 2019, a debit card transaction for $1,903.40 8 was made at the
                     US Post Office, located at 24 Corliss Street, Providence, RI.
                 -   On October 25, 2019, five (5) ATM withdrawals totaling $5,000.00 were
                     made at TD Bank, located at 1923 Mineral Spring Ave, North Providence, RI.
      33. USPS transaction records revealed USPS money orders 26209529853 ($1,000) and
         26209529864 ($900) were purchased on October 23, 2019 at 10:13 AM by Individual #1
         at the Main Post Office, located at 24 Corliss Street, Providence, RI with TD Bank debit
         card xxxxxxxxxxxx3988 9.
      34. USPS transaction records revealed USPS money orders 26209529853 and 26209529864
         were cashed on October 24, 2019 at 9:37 AM at the Elmwood Post Office, located at 820
         Elmwood Avenue in Providence, RI. Money order images revealed the payor as Patrick
         JOHNSON of 40 Sterling Ave in Providence, RI and the payee as Patricia F JOHNSON
         of 211 Hanover, Prov, RI. A Rhode Island driver’s license 21370677 10, which is Patricia
         JOHNSON’s license number, was provided to complete the transaction and recorded by
         the USPS clerk on both of the money orders.
      35. Using law enforcement databases and open social media pages, we were able to identify
         “Teebone Juheard” as Terrance RICHARDSON. A photo of RICHARDSON was sent to
         Individual #1 who confirmed RICHARDSON was Teebone Juheard. A criminal history
         check for RICHARDSON revealed a 2018 state conviction for forgery and counterfeiting
         for which he received a 5 year sentence, 18 months to serve with 42 months suspended,


8
    There is a $1.70 service fee for money orders over $500 and up to $1,000.
9
  TD Bank account records revealed debit card xxxxxxxxxxxx3988 is associated with Individual
#1
10
   Rhode Island DL 21370677 is assigned to Patricia F. JOHNSON of 211 Hanover St,
Providence, RI.
                                                  13
   and 42 months’ probation. RICHARDSON also has a pending unlawful breaking and
   entering of a dwelling house charge in the RI state court.
 INTERVIEW OF INDIVIDUAL #2 WHOSE BANK ACCOUNT WAS USED TO
                DEPOSIT A COUNTERFEIT CHECK

36. On October 23, 2020, Individual #2 was interviewed by Postal Inspectors regarding a
   counterfeit check deposited into her bank account in RI.
37. Individual #2 was shown a Union Bank & Trust check dated November 3, 2019, in the
   amount of $8,700.00 made payable to her. Initially, Individual #2 indicated she did not
   recognize the check and later changed her story stating she lost her debit card. Individual
   #2 then admitted she met a guy on Facebook under the name “Sunnyboy Taylor” who she
   gave her debit card and PIN to. Individual #2 stated that his real name is Richard KOBOI
   and showed me his Facebook page on her phone. Individual #2 stated KOBOI was
   posting advertisements on Facebook looking for bank accounts to deposit checks into in
   exchange for cash. Individual #2 acknowledged that KOBOI met her in North
   Kingstown, RI and was driving an older model Toyota Camry. Individual #2 stated
   KOBOI took her card and handled the transaction by himself. Individual #2 stated she
   only found out about the deposited checks after Bank of America notified her about her
   account being closed due to the counterfeit check. Individual #2 stated she never
   received any money from KOBOI because the check never cleared.
38. Individual #2 was questioned regarding other co-conspirators in this investigation,
   including Terrance RICHARDSON. Individual #2 stated she knew Terrance
   RICHARDSON. When questioned further about her relationship with RICHARDSON,
   Individual #2 stated she knew him from her neighborhood but added she never did
   business like that. When asked if she was friends with RICHARDSON on Facebook, she
   stated no. When questioned further regarding being friends with anyone named
   “Teebone” on Facebook, she said yes but stated she doesn’t understand why that
   mattered. In addition, Individual #2 refused to allow us to see RICHARDSON’s
   Facebook account under the name “Teebone Juheard”.
39. On October 15, 2020, the Honorable Lincoln D. Almond signed a search warrant (20-
   SW-378-LDA), authorizing the search of Facebook records for Facebook Name
   “Teebone Juheard” (20-SW-378-LDA).


                                            14
40. Facebook records for “Teebone Juheard”, received after our conversation with Individual
   #2, revealed a conversation between Individual #2 and “Teebone Juheard” that took place
   on June 3, 2019. Below is their Facebook conversation in its entirety:
                  Individual #2: Td bank ?
                  Teebone Juheard: Yea but it’s gunna be for like 3500
                  Individual #2: Does it matter how long the bank been opened ?
                  Teebone Juheard: Should be 30 days longer
                  Individual #2: Ok
41. Based upon my training and experience, this conversation is directly related to check
   fraud. I am aware that individuals using the banking system to commit fraud often prefer
   established bank accounts over newly created accounts because the banks often utilize
   more rigorous fraud mechanisms against newly created accounts. This enables an
   established account holder to have the ability to defraud a bank of more money than a
   newly created account would be able to do.
 INTERVIEW OF INDIVIDUAL #3 WHOSE BANK ACCOUNT WAS USED TO
                DEPOSIT A COUNTERFEIT CHECK

42. On January 8, 2021, Individual #3 was interviewed by Postal Inspectors regarding a
   counterfeit check that was deposited into her bank account in RI.
43. Individual #3 acknowledged allowing someone to use her Navy Federal Credit Union
   (CU) account to deposit a check into. Individual #3 stated during that time, her
   unemployment ran out and she needed the money. Individual #3 stated she responded to
   a Facebook advertisement from a guy “Sunnyboy” who promised to give her a 50/50 cut
   if she let him use her account. Individual #3 hesitantly agreed and met “Sunnyboy” in a
   park to give him her debit card and PIN. Individual #3 stated he was driving a larger
   model black SUV and was by himself. Individual #3 stated she didn’t know his real
   name and she tried to find him later on Facebook, but his account was deactivated.
   Individual #3 stated “Sunnyboy” took her card and handled the transaction by himself.
   Individual #3 stated she only found out about the counterfeit check after speaking to
   someone at Navy Federal CU about her account. Individual #3 stated she lost over
   $18,000.00 due to the counterfeit check, didn’t receive any money from the check, and is
   in the process of paying back Navy Federal CU.




                                            15
44. Individual #3 was questioned about other people involved in this scam and stated that she
   ApplePay’ed money to people other than “Sunnyboy”. Individual #3 stated that
   “Sunnyboy” was always on the phone talking to some African guy with an accent.
   Individual #3 reluctantly agreed to assist with the investigation any way she can to keep
   herself out of trouble but was worried about her own safety.
45. On January 8, 2021, I spoke with a Navy Federal CU bank investigator who confirmed a
   fraudulent check for $22,308.50 was mobile deposited on October 20, 2020 into
   Individual #3’s Navy Federal CU bank account. The Navy Federal CU bank investigator
   stated the payor of the check was the Law Office of Robert V. Russo and the payee was
   Individual #3. The investigator also confirmed that IP 172.56.23.59 was associated with
   the mobile deposited check and was the historical IP assigned to the account - meaning
   Individual #3 most likely deposited the check herself. The investigator confirmed there
   multiple fund transfers from Individual #3’s account to various individuals, via Cash App
   and PayPal, totaling $18,250.05.
46. On December 2, 2020, the Honorable Lincoln D. Almond signed a search warrant (20-
   SW-438-LDA), authorizing the search of Facebook records for Facebook Name
   “Sunnyboy Taylor” (User ID richard.koboi) for basic subscriber information, IP address
   logs, messages, photos, transactional information, videos, and other content and records.
   Facebook records for KOBOI using the Facebook Name “Sunnyboy Taylor” revealed a
   conversation that KOBOI had with Individual #3 discussing depositing a counterfeit
   check into Individual #3’s bank account on October 14, 2020. On October, 20, 2020,
   KOBOI sent a Facebook message to Individual #3, “come to 539 Dexter St”. When
   Individual #3 stated that she is “here,” KOBOI responded that “give me one second,
   having my moms house remodeled inside.” KOBOI’S Facebook records also showed
   that Individual #3 sent screenshots of a mobile deposit submitted in the amount of
   $22,308.50 which was deposited into the Navy Federal CU account and then a
   subsequent screenshot showing the deposit had been declined because it was missing a
   special endorsement on the back of the check. Subsequently, KOBOI sent a Facebook
   message for Individual #3 to call his phone.




                                           16
              FRAUDULENT CREDIT CARD APPLICATION ASSOCIATED WITH
                               PATRICK JOHNSON

     47. In March of 2020, US Bank investigators made me aware of an identity theft issue
        involving Patrick JOHNSON. The issue related to a credit card application in the name
        of victim DB and using DB’s social security number and date of birth that was submitted
        on October 28, 2019. The application was submitted via the internet from IP address
        194.36.111.106. The application which identified JOHNSON as an authorized user, lists
        a mailing address of 211 Hanover St, Providence, RI. Additionally, the email address
        Fainb659@gmail.com and cell phone (518) 952-5575 were listed as the primary contact
        information on the application. Bank investigators confirmed that both the victim’s
        government issued SSN and actual DOB along with Patrick JOHNSON’s name as an
        authorized user and JOHNSON’s purported but false SSN and DOB 11 were submitted as
        part of the application process. The victim DB confirmed it was fraudulent on November
        15, 2019 and the application was denied on November 19, 2019. No credit card was ever
        opened, and US Bank did not incur a loss as a result of the activity.
     48. On June 4, 2020, I spoke to DB and her husband MB who stated they knew nothing about
        a credit card being opened under her name. DB stated she didn’t know anyone named
        Patrick JOHNSON and that the phone number (518-952-5575) and email address
        (fainb659@gmail.com) listed on the application did not belong to her. DB recalled
        having an issue last year regarding someone cashing checks written on their home equity
        loan but didn’t recall it being related to a credit card. MB stated there were two checks
        written on his HELOC loan with Union Bank 12. MB stated that after the incident, he
        froze both his and his wife’s credit and now monitors their credit reports regularly. MB
        confirmed that his wife never applied for a credit card with US Bank.
     49. Subscriber records for telephone number (518) 952-5575, believed to be Patrick
        JOHNSON’s phone, revealed it is associated with T-Mobile Account and began service

11
  The SSN ending in 8110 and DOB (8/20/79) listed on the credit card application are not
associated with JOHNSON.
12
   Union Bank & Trust records revealed two checks (#203 & #416) in the amounts of $65,000
and $9,600, written against MB & DB’s HELOC account on November 1, 2019 and November
3, 2019.


                                                 17
        on April 1, 2019 and was deactivated on February 29, 2020. There is no subscriber
        name, subscriber address, billing name or billing address associated with this account.
     50. Between April 1, 2019 and February 29, 2020, T-Mobile toll records for (518) 952-5575,
        believed to be Patrick JOHNSON’s phone, revealed 148 incoming calls and 159 outgoing
        calls to (401) 499-7593, 13 believed to be used by Patrick JOHNSON’s wife.
        Additionally, there was an outgoing call on November 21, 2019, from the number for
        Individual #1’s ex-boyfriend who was involved in the counterfeit check deposit described
        in paragraph 32. 14
     51. Gmail records revealed email account fainb659@gmail.com was created on February 2,
        2019 under the name Barry Fain. An account recovery email address of
        cowger659@yahoo.com and a recovery phone number of (347) 230-7119 were provided
        during the account creation. Additionally, on October 29, 2019, a day after the fraudulent
        credit card application was submitted, there was login and logout activity related to the
        fainb659@gmail.com email account from IP 194.36.111.106. This is the same IP that
        was captured on October 28, 2019 by US Bank related to the credit card application
        referenced in paragraph 47.
     52. Subscriber records for telephone number (347) 230-7119 revealed it is associated with
        MagicJack 15 Account 50765904 and began service on September 19, 2018 under the
        name Robert Royal. Under the list locations where the MagicJack is being utilized, it




13
  Sprint records for phone number (401) 499-7593 revealed it is assigned to Patrick JOHNSON,
211 Hanover St, Providence, RI 02909 and was established on 7/7/18. In addition, KOBOI’s
Facebook records show that (401) 499-7593 is the phone number provided by “Felicia Sarkpa
Johnson” to KOBOI in a Facebook message. Facebook profile photos for “Felicia Sarkpa
Johnson” compared to Whayee Sarkpa Johnson’s DMV photo appear to be the same individual.
14
  As referenced above, Individual #1 made a controlled phone call to her ex-boyfriend at (401)
215-0839.
15
  MagicJack is a USB phone adapter that allows you to bypass traditional phone services and
make calls via Voice over Internet Protocol (VoIP) to regular cell phones, landline phones or
other VoIP users from a home, hotel room and even other countries. This technique used by
scammers, commonly referred to as “phone spoofing”, allows the caller to deliberately falsify the
information transmitted to the victim’s caller ID to disguise their true identity and location.


                                                 18
         lists Glenn Wilson, 211 Hanover St, Fl 2, Providence, RI 16. Additionally, one of the
         credit cards associated with the Magic Jack Account 50765904 belongs to Glenn Wilson
         at the aforementioned address.
            RICHARDSON “TEEBONE JUHEARD” FACEBOOK RECORDS USED TO
            COMMUN ICATE WITH CO-CONSPIRATORS AND TARGET PHONE #1

     53. Facebook records for “Teebone Juheard” revealed that the account was created on
         February 9, 2015. Facebook confirmed it is still an active Facebook account and phone
         number (401) 677-9165, TARGET PHONE #1, was verified by Facebook on May 28,
         2020 17.
     54. As further elaborated below, Facebook records for “Teebone Juheard” responsive to that
         search warrant show that “Teebone Juheard” communicated with the various co-
         conspirators to cash/deposit counterfeit checks, obtain information for cashing/depositing
         counterfeit checks, and/or produce paper stock for counterfeit checks.
     55. Facebook records for “Teebone Juheard” revealed that this account was used to advertise
         and solicit co-conspirators to engage in the bank fraud scheme. For example, a photo
         posted on April 4, 2020 of a Bank of America receipt that states “5k next day – 10k two
         business days – All Bank of America HMU – Teebonejuheard”. Additionally, in a
         Facebook Messenger conversation on October 6, 2019, Individual #4 sent a screen shot
         of “Teebone Juheard” Facebook’s account to him in which he posted “YKTVS 18
         whoever tryna make 9k next day DM ME” along with photographs of cash and a Bank of
         America receipt. The two then have the following conversation:
                        Individual #4: So wusss da word ?
                        Teebone Juheard: What’s good
                        Individual #4: I gotta BOA card but I’m not trynha get into dat fraudulent
                        ish & get played .
                        Teebone Juheard: Listen for one I know what I’m doing and two this is
                        how I feed my family my kids why would I play you



16
  A search of USPS and law enforcement databases for Glenn Wilson at 211 Hanover St,
Providence, RI was met with negative results.
17
     "Verified" indicates the account holder responded to a text sent to the listed phone number.
18
     YKTVS is slang for You Know The Vibes
                                                  19
                  Individual #4: I’m jus being on my safe side as well as yu would be , I seen
                  ya pics & what come back in so I’m jus trynha see what’s good & when
                  we can get shit popin ,
                  Teebone Juheard: My bad game day been busy but tomorrow
                  Teebone Juheard: Hey if you wanna do it I can meet with you and give
                  you the slip so you can deposit it on your own so you can feel safe like I’m
                  not gunna play you just have to keep me updated
                  Individual #4: Aight bett I’ll let you know when I’m free to meet up .
                  Individual #4: Cause I have work
                  Teebone Juheard: Iight send your name and address that’s on the account
                  I’ll have it printed up

56. Facebook records for “Teebone Juheard” also revealed a conversation with Individual #5
   that took place on September 28, 2020.
                  Teebone Juheard: Who you fucking up ?
                  Individual #5: Fuck I gotta lie about ! Bring my shit back . My account is
                  all fucked Up for nothing. You don’t bring my shit ima see you point
                  blank. I ain’t no kid I’m a grown ass man playa . I kept my word on
                  everything that was asked of me
                  Teebone Juheard: But who you fucking up is what I’m asking
                  Individual #5: You want to meet up ?
                  Teebone Juheard: Yea come get it.

   “Teebone Juheard” then sent a photograph of a Santander debit card in Individual #5’s
   name next to what appears to be a firearm and a magazine containing ammunition based
   upon my training and experience. On December 1, 2020, I interviewed Individual #5.
   Individual #5 stated he has never met RICHARDSON and provided his debit card and
   PIN to a mutual friend. Individual #5 was told by his friend that RICHARDSON needed
   to use his bank account to deposit a legitimate check into it. Individual #5 stated that he
   never actually saw the check that was deposited into his account. After Individual #5 was
   notified by Santander that the check was fraudulent, he asked for his debit card back.
   Individual #5 stated RICHARDSON sent him a photo over Facebook of his debit card
   along with a handgun and told him “Yea come get it”. Individual #5 stated he has yet to
   recover his debit card from RICHARDSON and has not communicated with
   RICHARDSON since. Santander provided the check deposited into Individual #5’s
   account which shows a check made payable to Individual #5 in the amount of
   $15,930.00, allegedly endorsed with Individual #5’s signature on the back.



                                            20
57. Facebook records for “Teebone Juheard” also revealed a conversation that took place on
   October 1, 2019 with Individual #6 regarding making and printing counterfeit checks.
   Below is a summary of their conversation:
                  Individual #6: I need in . . .
                  Teebone Juheard: What account you have
                  Individual #6: Bank of America or I will open one if u need me to
                  Teebone Juheard: Yea that Bank of America is good
                  Teebone Juheard: You tryna do it today?
                  Individual #6: I bounced some checks last week
                  Individual #6: But I am down
                  Teebone Juheard: They cleared?
                  Teebone Juheard: You bounces them in your account?
                  Individual #6: Wrote them out in the store
                  Teebone Juheard: Does that have anything to do with your account?
                  Individual #6: We can try if you wanna
                  Teebone Juheard: Iight send your name and address that’s on the account
                  imma print them up
                  Individual #6: **sends name and address**
58. Facebook records for “Teebone Juheard” also revealed a conversation that took place on
   June 3, 2019 with Individual #7 regarding printing and depositing counterfeit checks.
   Below is a summary of their conversation:
                  Individual #7: I need in
                  Teebone Juheard: What bank you have
                  Individual #7: Citizens
                  Teebone Juheard: How long it’s been open
                  Individual #7: Only **
                  Teebone Juheard: What’s a couple months?
                  Individual #7: Four/five months
                  Teebone Juheard: Do you use it
                  Individual #7: My checks get deposit into it but I haven’t worked since the
                  second week of May
                  Individual #7: But um idk guess let me know if not it’s all gd .. you be
                  safe but I seen numbers nd I don’t mind doing what needed to get it ..
                  Teebone Juheard: Iight so basically you have to walk in and deposit the
                  check thru the teller
                  Teebone Juheard: And it’ll clear tomorrow morning
                  Individual #7: Ok then what
                  Teebone Juheard: Then we link when it clear go to the casino and cashout
                  Individual #7: Okay well Let me Know when and I’m in
                  Teebone Juheard: Send your name and address that’s you use to open the
                  account
                  Teebone Juheard: Imma print it and meet up with you
                  Individual #7: **sends address**

                                           21
                        Individual #7: Well I hope it works nd then idk let’s talk about my cut nd
                        obviously you get you’re big I need a come up real quick just to buy a
                        whip cause my husband took all my shit and left me with nothing
                        Teebone Juheard: Imma do 7500 you get 3 cuz imma pay the person who
                        get the checks out my cut
                        Teebone Juheard: Your fb name is your real name
                        Individual #7: Yes it is
                        Individual #7: I know you obviously do this but what’s this check from or
                        etc
                        Individual #7: Cause I have 25 yrs over my head can’t afford shit to slip
                        up but I kno you’ll probably tell me how to go about it
                        Teebone Juheard: Iight nothing gonna happen
                        Teebone Juheard: It’s from a job where they work with mental illness kids
                        Individual #7: So how I take it all out at once
                        Teebone Juheard: Iight call me

     59. Facebook records for “Teebone Juheard” revealed a conversation between Individual #8

         and “Teebone Juheard” that took place on September 23, 2020, in which RICHARDSON

         provides Individual #8 with the number for TARGET PHONE #1. Below is a summary

         of their Facebook conversation which based on my training and experience is a

         discussion relating to bank account information for the purpose of depositing counterfeit

         checks:

                        Individual #8: Send me your number
                        Teebone Juheard: Why what’s up
                        Individual #8: Obviously something
                        Teebone Juheard: Didn’t you have it
                        Individual #8: My home girl has boa 19
                        Teebone Juheard: 4016779165
                        Individual #8: Yo
                        Individual #8: You do chase ?
                        Teebone Juheard: Yea
                        Individual #8: Ok
                        Individual #8: If it’s 2 different accounts they won’t close both of them
                        right
                        Teebone Juheard: Are you tryna make money or what




19
     BOA is an abbreviation for Bank of America
                                                 22
               KOBOI “SUNNYBOY TAYLOR” FACEBOOK RECORDS
                   Facebook Communications with Co-Conspirators

60. Facebook records for “Sunnyboy Taylor” revealed that the account was created on June
   28, 2010. Facebook confirmed the account was deactivated on November 27, 2020.
61. As further elaborated below, Facebook records for “Sunnyboy Taylor” responsive to that
   search warrant show that “Sunnyboy Taylor” communicated with the various co-
   conspirators to cash/deposit counterfeit checks, and obtain information for
   cashing/depositing counterfeit checks.
62. Facebook records for “Sunnyboy Taylor” revealed that this account was used to advertise
   and solicit co-conspirators to engage in the bank fraud scheme. For example, three
   photos sent using this Facebook account on January 8, 2020 displayed stacks of US
   currency followed by “ALL CITIZENS BANK ACCOUNT HOLDERS HMU TODAY –
   CRANSTON, RHODE ISLAND – 50/50 SPILT(sp)”.
63. Facebook records for “Sunnyboy Taylor” also revealed a conversation with Individual #9
   that took place between October 30, 2020 and November 3, 2020 which is summarized
   below and describes how the counterfeit check fraud scheme worked:
                  Sunnyboy Taylor: What you need
                  Individual #9: How Much we talkin bro last time I did this shit I got
                  burned my account went negative and I ain’t get shit but I feel like I can
                  trust yohb
                  Sunnyboy Taylor: I ain’t moving like them niggas is moving bro , that’s
                  why they ain’t last. I do business based off loyalty and trust alone . Who
                  youbanking with
                  Individual #9: Citizens
                  Sunnyboy Taylor: How long have you been banking with them
                  Individual #9: Couple months now
                  Sunnyboy Taylor: Okay, so basically what I do is simple. I want you to
                  know what it is I do isn’t legal but it’s safe. This isn’t something where
                  you have to worry about cops or your bank and credit . I do business with
                  individuals who have good history with there banks. I make typed up or
                  written checks from offshore 300k plus accounts . That type
                  up or written check will be made out to you where we will then deposit it
                  into your account . Usually it days one business day to two the most for
                  the money to be available. Once the account shows that the money is there
                  we will then take the steps needed to take the money out of the account.
                  We will then spilt 50/50. No middle man or bad blood. You will still be
                  able too use and keep your account as well as do it again in the future if
                  you please. Let’s eat


                                            23
                       Individual #9: I’m with it but it’ll have wait till after this week I got some
                       bills that come out as autopay and I don’t want nothing to happen so I’ll
                       hit you up Friday cause I get paid Thursday if that works for you. And how
                       much bread we talking?
                       Sunnyboy Taylor: Whenever your ready we will talk business and talk
                       numbers
                       Individual #9: Aye bro I’m ready get some bread but please bro I got
                       burned and a lot of bad shit happened last time I did this I can’t bank with
                       centrism banks because of the last time I trusted someone with this shit
                       bro you’re a brother I feel like you’re honest if not that’s cool get your
                       bread but if it Fuccs up my account bro I don’t wanna do it you feel me
                       but if it’s gonna be good I’m all for it
                       Sunnyboy Taylor: Honestly bro, I don’t go around burning people, I keep
                       my name clean and my business cleaner. I do business based off loyalty
                       and trust. If you put your trust in me and do as I say bro. We can make
                       it happen. I’m a man like you a man. Wouldn’t disrespect you or cross the
                       line g. I can’t get the racks with out you. I ain’t got timetoo be playing
                       with money. That’s my word you in good hands
                       Sunnyboy Taylor: Let’s eat
                       Individual #9: let’s get it what I need to do?
                       Sunnyboy Taylor: Text me
                       Sunnyboy Taylor: 4015439323

        In a later Facebook conversation from August 1, 2020, Individual #9 asks KOBOI to
        make him plates and insurance for his car and provides his full name for this purpose as
        requested by KOBOI.
     64. A review of bank records related to Individual #9’s Citizens Bank account ending in 4285
        revealed on November 4, 2020, a Union Bank & Trust check 20 in the amount of
        $9,600.00 was deposited into Individual #9’s account at the Citizen’s Bank Washington
        Park ATM in Providence, RI. The check was made payable to and endorsed by
        Individual #9. A review of the check revealed it was counterfeit and was returned as
        fraudulent on November 7, 2020. Prior to the check being returned as fraudulent,
        Individual #9 was able to obtain approximately $823.08 of the funds from the account via
        ATM withdrawals and debit card purchases.
        KOBOI’s Communications with Patricia JOHNSON to Deposit Counterfeit Check and
                                      Target Phone #3

20
   The payors of Union Bank & Trust check #416 was MB and DB of Williamsburg, VA. As
detailed above, DB’s HELOC account was not only compromised by KOBOI by the use of the
counterfeit check drawn on DB’s HELOC account, DB was also victim of identity theft related
to Patrick JOHNSON around the same time.
                                                 24
65. Facebook records for “Sunnyboy Taylor” also revealed a conversation with “Tricia
   Johnson” that took place on January 23, 2020 which is summarized below:
                  Sunnyboy Taylor: you still tight on money ? I have a way me and you can
                  eat with your account but you have to keep it between us. The way I’ll
                  do it is the same way I did my very own personal citizen account
                  Tricia Johnson: Lol once isn’t bring trouble to me you we good
                  Sunnyboy Taylor: It won’t cause, lol only trouble is your dam father 😂😂
                  know him. But do you have a joint account with them or it’s just your
                  account ?
                  Tricia Johnson: Is my account
                  Sunnyboy Taylor: You have the can correct ?
                  Sunnyboy Taylor: How long have you had it
                  Tricia Johnson: 2 to three
                  Sunnyboy Taylor: Years?
                  Tricia Johnson: Yes
                  Sunnyboy Taylor: Okay yes cuz, I can do today. We eat tomorrow morning
                  or even before the morning breaks if you have cash app and Apple Pay
                  connected to your account
                  Tricia Johnson: I have cashapp connected to it
                  Sunnyboy Taylor: You have a IPhone right ?
                  Tricia Johnson: You sure it will not bring trouble right ?
                  Tricia Johnson: Yeah
                  Sunnyboy Taylor: Cuz, if I even thought for a spilt second you would be in
                  trouble with the law , I would dare
                  Tricia Johnson: Ok
                  Tricia Johnson: Let get it tho
                  Sunnyboy Taylor: Okay we can do it today
                  Sunnyboy Taylor: Where you at ?
                  Sunnyboy Taylor: There’s info I will need to make the check and complete
                  Tricia Johnson: Home
                  Sunnyboy Taylor: Okay send me your Full name on the card Address
                  Online banking user name and password Card and pin.I will come get
                  your card go make the deposit so you are no way in site
                  Sunnyboy Taylor: But to do this you may have to stay up late
                  Tricia Johnson: Patricia Johnson 211 Hanover st Providence
                  Sunnyboy Taylor: I will let you know when I’m outside cuz
                  Tricia Johnson: I'm about to leave the house tho
                  Sunnyboy Taylor: Hide the card outside somewhere for me then cuz and
                  trust I will handle everything and let you know every step
                  ***
                  Tricia Johnson: Lol hope my dad don’t know about this
                  Sunnyboy Taylor: Shit I hope he don’t too, but we gone play it safe as
                  possible trust me.
                  Tricia Johnson: When you getting the card make sure he don’t see you lol
                  Tricia Johnson: But I will soon go home

                                          25
                  ***
                  Sunnyboy Taylor: Pulling up cuz
                  Tricia Johnson: Just get it from the mailbox fast
                  Sunnyboy Taylor: Got it cuz

   Subsequently in this Facebook correspondence, Patricia JOHNSON sent KOBOI what
   appears to be a phone screenshot of her bank accounts showing the balance of $56.79 for
   a non-interest savings account xxx4513 and of $100.75 of a student checking account
   xxxx0873, as well as messages that included her pin to the bank card and last four digits
   of her social security number. After Patricia JOHNSON sent KOBOI this information,
   KOBOI sends a Facebook message stating, “Text my number cuz,” and “4015439323.”
   Toll records for Patricia JOHNSON’s phone number, TARGET PHONE #3, show that
   Patricia JOHNSON called KOBOI right after this Facebook message was sent.
66. TARGET PHONE #3 is believed to be Patricia JOHNSON’s phone number because in a
   Facebook message on June 30, 2020, KOBOI asked Patricia JOHNSON to send her
   number and Patricia JOHNSON responded, “4016485717,” which is TARGET PHONE
   #3. T-Mobile records responsive to a grand jury subpoena for TARGET PHONE #3 for
   subscriber information show that there is no subscriber name, subscriber address, billing
   name or billing address associated with this account.
67. Facebook profile photos for “Tricia Johnson” compared to Patricia JOHNSON’s DMV
   photo appear to be the same individual that I spoke to at 211 Hanover St. on January 30,
   2020. Additionally, a photo posted June 16, 2019 from Facebook username “Tricia
   Johnson” appears to show Patricia JOHNSON next to her father Patrick JOHNSON.
68. Citizens Bank records for Patricia JOHNSON’s Citizens Bank Account #XXXXXX0873,
   on January 23, 2020, check #732831 from Providence Mutual in the amount of $8,352.16
   was deposited into Patricia JOHNSON’s Citizen’s Bank account. The check was made
   payable to and endorsed with Patricia JOHNSON’s name. A review of the check
   revealed it was counterfeit and was returned as fraudulent on January 24, 2020. Prior to
   the check being returned as fraudulent, approximately $4,500 of the funds from the
   account was taken out of the account via ATM withdrawals and debit card purchases.
                            KOBOI’s Use of TARGET PHONE #2
69. Facebook records for “Sunnyboy Taylor” revealed a conversation between Individual #10
   and “Sunnyboy Taylor” that took place between November 19, 2020 and November 23,

                                           26
   2020, which showed KOBOI’s current phone number is TARGET PHONE #2. During
   the conversation about printing a counterfeit check and then using Individual #10’s TD
   Bank account to deposit the check, KOBOI provides Individual #10 with the number for
   TARGET PHONE #2.
70. Records received from T-Mobile pursuant to a Grand Jury subpoena revealed phone
   number (267) 854-9972, TARGET PHONE #2, is registered as a Tracfone, therefore
   there is no subscriber information associated with the phone number. Records revealed
   an activation date of November 18, 2020 and shows it’s still an active account.
   Additionally, phone calls made as recently as January 27, 2021, to TARGET PHONE #2
   revealed that the number is still in service.
   KOBOI’s Facebook Communications Regarding Possessing Guns and Selling Guns
71. KOBOI’s Facebook records further show communications that he possessed guns and
   that he has advertised guns for sale. For example, on November 8, 2020, a Facebook
   message was sent to KOBOI stating, “Take this down bro Yk them ppl b watching,” to
   which KOBOI responds, “all my guns registered too me.” In addition, on November 9,
   2020, in response to message KOBOI receives telling him, “if thang ain’t legit then take
   this pic down lil bro. You never know who watching and I don’t want anything to
   happen to you because of a possible mistake ya heard?,” KOBOI responds, “wouldn’t
   even play like that . all my gun definitely under my name.”
72. On August 13, 2020, KOBOI states in Facebook messages, “How I try to get you and I
   paid for your weed dude,” and “Let me tell you that if I would of wanted to rob you I’d
   put my gun in your face.”
73. On June 13, 2020, KOBOI sends photographs of what appears to be guns to an individual
   based upon my training and experience. In one of the photographs with a gun with a
   serial number are the words, “Forsale.” In this same Facebook conversation, KOBOI
   states, “But the guns I got plenty.” When asked if “Those for sale. . . 357? 40?” KOBOI
   responds, “Yessir.” Based upon my training and experience, 357 and 40 refer to gun
   caliber.
       TERRANCE RICHARSON’s CHASE BANK ACCOUNT ENDING IN #3190
74. Chase Bank records show that Terrance RICHARDSON opened Chase Bank accounts
   #XXXXX3190 on October 17, 2019 and #XXXXX9727 on July 1, 2020. The accounts


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        were held in his name with an address of 21 Milk St #1, Providence, RI 02905.
        According to account opening documents, Terrance RICHARDSON provided a tax
        identification number (SSN) of XXX-XX-7567 and RI driver’s license #21313972 21 as
        verification. Chase Bank closed account #XXXXX3190 on August 14, 2020 and account
        #682629727 on August 25, 2020.
     75. A review of activity on the account revealed between April 14, 2020 and July 9, 2020, six
        counterfeit checks totaling $115,877.69, made payable to Terrance RICHARDSON were
        deposited into Chase Bank accounts #XXXXX3190 and #XXXX9727 via ATM deposits
        at the Chase Bank branch located at 234 Thayer St, Providence, RI, which was the same
        Chase Bank branch where the account was initially opened by RICHARDSON.
     76. Prior to the checks being returned as fraudulent, RICHARDSON was able to obtain
        approximately $42,547.66 of the funds from the accounts via debit card transactions,
        ATM and over the counter cash withdrawals, Chase QuickPay and Zelle 22 money
        transfers to various bank accounts.
     77. Surveillance photographs and video provided by Chase Bank show RICHARDSON
        making several of the aforementioned cash withdrawals in Rhode Island and New York.
        Additionally, a gold chain with a “TEE BONE” diamond pendant worn by
        RICHARDSON in some of the surveillance photos is identical to the gold chain and
        diamond pendant he is wearing in several photos on his Facebook page.
RICHARD KOBOI’s WELLS FARGO BANK ACCOUNTS ENDING IN #0176 & #2175
     78. Wells Fargo records show that Richard KOBOI opened Wells Fargo Bank accounts
        #XXXXXX0176 on February 18, 2020 and #XXXXXX2175 on March 5, 2020. The
        accounts were held in his name with an address of 2 Bodell Ave, Apt 6, Providence, RI
        02909. According to account opening documents, Richard KOBOI provided a tax
        identification number (SSN) of XXX-XX-1348 as verification. These accounts were
        closed by Wells Fargo Bank on June 12, 2020.



21
  According to RI DMV records, RI driver’s license #21313972 is associated with Terrance
RICHARDSON, 21 Milk St, Apt 1, Providence, RI 02905.
22
  Chase QuickPay and Zelle are person-to-person payment services that lets you send and
receive money from anyone with a U.S. bank account using an email address or mobile number.
                                                28
79. A review of activity on the account revealed that on April 8, 2020, two counterfeit checks
   in the amounts of $2,896.43 and $6,597.77 and made payable to Richard KOBOI were
   deposited into KOBOI’s Wells Fargo accounts #XXXXXX0176 and #XXXXXX2175
   respectively via ATMs at the following Wells Fargo branch in Wilmington, DE. On April
   9, 2020, a counterfeit check in the amount of $5,000.00 was deposited into Wells Fargo
   account #XXXXXX2175 at the Wells Fargo branch in Old Saybrook, CT.
80. Surveillance photographs provided by Wells Fargo show KOBOI making the
   aforementioned deposits in Delaware and Connecticut, and one of the subsequent
   withdrawals in Connecticut. Additionally, a gold chain worn by KOBOI in one of the
   surveillance photos is identical to a gold chain he is wearing in several photos on his
   Facebook page.
81. Prior to the checks being returned as fraudulent, KOBOI was able to obtain
   approximately $9,131.19 of the funds from the account via ATM withdrawals, debit card
   purchases, and Zelle transfers.A criminal history check for KOBOI included a 2018
   conviction for receiving stolen property by false pretenses and personation and
   conspiracy for which he received a sentence of 5 years with 18 months to serve and 3
   years, 6 months suspended and 5 years’ probation; a 2016 conviction for breaking &
   entering for which he was sentenced to 5 years suspended, 5 years’ probation; a 2016
   conviction for domestic assault for which he was sentenced to 1 year suspended, 1 year
   probation; and an active warrant issued in Delaware for larceny from banking.
82. On October 27, 2020, I spoke with Detective Doug Shatley from the Delaware State
   Police regarding his investigation and active warrant for KOBOI. Detective Shatley
   stated he spoke to KOBOI on the phone regarding the counterfeit checks to which
   KOBOI denied ever having a Wells Fargo bank account. When confronted with ATM
   video of him depositing the checks, KOBOI stated he needed to speak with his attorney
   and would plan on turning himself in to the Troop 2 Barracks. As of the date of this
   affidavit, KOBOI has not turned himself in.
83. Notably, KOBOI’s Facebook records show the following message from KOBOI on
   November 30, 2020, which appears to reference the Delaware counterfeit check: “Last
   one you gave me was a flop man. And they ended up arrest my peoples out there in
   Delaware.”


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        RICHARD KOBOI’s BANK NEWPORT ACCOUNT ENDING IN #7349
84. Bank Newport records show that Richard KOBOI opened Bank Newport account
   #XXXXXXXX7349 on June 9, 2020. The account was held in his name with an address
   of 2 Bodell Ave, Apt 6, Providence, RI 02909.
85. A review of activity on the account revealed between July 6, 2020 and July 30, 2020,
   KOBOI received six ACH credits, totaling $5,685.00, from three different government
   entities as detailed below:
    Customer Account   Code     Date      Total Value                 Description         Method
   XXXXXXXX7349        XDEP   13-Jul-20   $1,500.00     SBAD TREAS 310 MISC PAY RMT*CT*    ACH
   XXXXXXXX7349        XDEP   15-Jul-20    $867.00      MA DUA MA PUA PROGRAM CARES ACT    ACH
   XXXXXXXX7349        XDEP   22-Jul-20    $867.00      MA DUA MA PUA PROGRAM CARES ACT    ACH
   XXXXXXXX7349        XDEP   29-Jul-20    $867.00      MA DUA MA PUA PROGRAM CARES ACT    ACH
   XXXXXXXX7349        XDEP   30-Jul-20    $867.00      MA DUA MA PUA PROGRAM CARES ACT    ACH
   XXXXXXXX7349        XDEP   6-Jul-20     $717.00      STATE OF ARIZONA BENEFITPAY        ACH

         TOTAL                            $5,685.00



   On or around July 27, 2020, KOBOI was contacted by Bank Newport management in
   regard to the questionable ACH deposits in his account. KOBOI stated that Ma Dua Ma
   Pua was his sister, SBAD was his business that he applied for a loan with and that he use
   to work in Arizona for a company called Matrix thru December of 2019. It should be
   noted that MA DUA MA PUA is an acronym for Massachusetts Department of
   Unemployment Assistance / Massachusetts Pandemic Unemployment Assistance and
   SBAD is an acronym for Small Business Administration. Based on his KOBOI’s
   inability to provide a valid explanation, Bank Newport decided to close KOBOI’s
   account.
              KOBOI’s CHASE BANK ACCOUNTS ENDING IN #3426 & #3608
86. Chase Bank records show that Richard KOBOI opened Chase Bank accounts
   #XXXX3426 and #XXXXXX3608 on February 9, 2020. The accounts were held in his
   name with an address of 2 Bodell Ave, Apt 6, Providence, RI 02909. Chase Bank closed
   account #XXXXXX3608 on March 27, 2020 and account #XXXXX3426 on March 30,
   2020 respectively.
87. A review of activity on the account revealed on March 18, 2020, United States Treasury
   check #XXXX7533 in the amount of $5,292.00 made payable to JK and dated March 13,
   2020, was deposited into Chase Bank Account #XXXXX3426. On the back of the check

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        was the alleged signature of JK followed by the signature of what appears to be Richard
        KOBOI. The deposit was made via an ATM transaction at the Chase Bank branch
        located at 869 Providence Highway, Dedham, MA. Chase Bank restricted this deposit
        due to the presence of a third-party payee and was unable to verify issuance of the item
        from JK.
     88. On December 29, 2020, I spoke with JK regarding the United States Treasury check in
        question. JK stated she was aware that her check was stolen because she received a letter
        from Chase Bank regarding her knowledge of the transaction. JK stated she has also
        contacted the IRS regarding the stolen check and requested a new check be issued, which
        she has yet to receive. JK stated she moved in February 2020 and wasn’t even at the
        address where the check was mailed. USPS records show that a change of address form
        (PS 3575) was submitted in-person by JK on March 5, 2020, requesting an address
        change 152 Massachusetts Ave, Providence, RI (the address which was listed on her
        Treasury check) to 539 Dexter St., Apt. A, Providence, RI. Notably, 539 Dexter St, Apt.
        B, Providence, RI is the address for KOBOI’s mother. 23 JK stated she has never heard of
        Richard KOBOI and that the signature on the back of the check was not her handwriting.
        KOBOI’s Facebook records under “Sunnyboy Taylor” show that he conducted searches
        on Facebook for JK’s full name on March 18, 2020.
                      ADDITIONAL ACTIVITY INVOLVING KOBOI
     89. On December 3, 2020, I was notified by Detective Chea of the Warwick (RI) Police
        Department regarding a counterfeit check that was deposited into a Pawtucket CU
        account. Det. Chea stated that the Pawtucket CU bank manager reported a fraudulent
        check for $8,200.00 was deposited on October 16, 2020 at the Pawtucket CU ATM
        located at 405 Warwick, Ave, Warwick, RI. Subsequently, between October 20-21,
        2020, there were two ATM cash withdrawals and two point of sale withdrawals via the
        Apple Cash app.
     90. A Pawtucket CU bank investigator contacted the payor of the check, The Law Office of
        Robert V. Russo, who confirmed that the check was indeed fraudulent. Additionally, the


23Rhode Island Department of Corrections records revealed KOBOI listed his mother as Louise
Taylor. Rhode Island DMV records show Louise Taylor’s driver’s license was issued on March
29, 2019, and lists her address as 539 Dexter St, Apt B, Providence.
                                                31
   Pawtucket CU bank investigator contacted the payee of the check, Darren Maenza, in an
   effort to recover the funds but was unable to get in contact with him.
91. Surveillance photographs provided by Pawtucket CU show KOBOI making the
   aforementioned deposit at the Pawtucket CU ATM located at 405 Warwick Ave,
   Warwick, RI on October 16, 2020 at 6:42 PM. Additionally, a silver chain and padlock
   pendant worn by KOBOI in one of the surveillance photos is identical to a silver chain
   and padlock pendant he is wearing in several photos on his Facebook page.
92. Facebook records for “Sunnyboy Taylor” revealed on October 20, 2020 a bank account
   screenshot with the name “DARREN MAENZA” and current balance of $8,381.36 was
   sent by “Sunnyboy Taylor” to “Sos DMann”. This photo appears to be related to the
   counterfeit check deposit referenced in paragraph 86.
93. Facebook records for “Sunnyboy Taylor”, revealed a conversation between “Sos
   DMann” and “Sunnyboy Taylor” that took place on October 19, 2020. Below is part of
   the conversation discussing depositing a counterfeit check:
                   Sos DMann: Yo bro do first citizens work? I gotta go to New Bedford to
                  grab an don’t wanna waiste time if not gone hit
                  Sunnyboy Taylor: definitely
                  Sunnyboy Taylor: online drop
                  Sunnyboy Taylor: will pop for us off top
                  Sos DMann: Bet say dat
                  Sunnyboy Taylor: trust me
                  Sunnyboy Taylor: go grab it
                  Sos DMann: Wait she said she only got card
                  Sunnyboy Taylor: that’s cool
                  Sunnyboy Taylor: we can drop it out there
                  Sos DMann: Bet
                  Sunnyboy Taylor: got that card for you too
                  Sos DMann: Oh yeah thank u bro she’s going nuts I’m be done in a hr
                  Sunnyboy Taylor: lmk , got you
                  Sos DMann: Jason J Rose - first citizen

94. Furthermore, on October 21, 2020, “Sunnyboy Taylor” messages “Sos DMann” a photo
   of a First Citizens Federal Credit Union (FCU) receipt showing a check from the Law
   Office of Robert V. Russo made payable to Jason J. Rose in the amount of $9,637.02.
   The receipt displays a deposit date of October 20, 2020 at 20:47 hours.
95. On January 7, 2021, I spoke with First Citizens FCU bank investigator Susan Oliveira
   who confirmed a fraudulent check for $9,637.02 was deposited on October 20, 2020 at

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      the First Citizens FCU ATM located at 629 South St West, Raynham, MA.
      Subsequently, on October 23, 2020, there were four ATM cash withdrawals totaling
      $9,601.00 and two point of sale withdrawals before the check was ultimately deemed
      fraudulent.
96. Surveillance photographs provided by First Citizens FCU show KOBOI making the
      aforementioned deposit at the First Citizens FCU ATM located at 629 South St West,
      Raynham, MA on October 20, 2020 at 20:46 hours.
97.    Using law enforcement databases and open social media pages, we were able to
      identify “Sos DMann” as Dante Mann of Providence, RI. Mann was murdered on
      October 22, 2020 on Gallup St in Providence while filming a music video.
       SUBJECT PREMISES 1: 211 HANOVER ST, APT. 1, PROVIDENCE, RI
98. A mail cover for 211 Hanover St., Apt. 1, Providence, RI, revealed between June 23,
      2020 and July 22, 2020, Patrick JOHNSON and Patricia JOHNSON received mail at 211
      Hanover St, Floor/Unit 1, Providence, RI to include a Cox Communications invoice and a
      Verizon invoice. The address listed is the SUBJECT PREMISES 1. An additional mail
      cover for 211 Hanover St., Apt 1, Providence, RI, revealed between February 2, 2021 and
      February 18, 2021, Patrick JOHNSON and Patricia JOHNSON continued to receive mail,
      including a credit card and E-Z Pass invoice, at the SUBJECT PREMISES 1.
99. A search of the USPS Change of Address system revealed as of February 18, 2021, no
      change of address requests were submitted that listed 211 Hanover St., Apt 1,
      Providence, RI as a previous address. Furthermore, on August 22, 2019, Patrick
      JOHNSON submitted a change of address request through the USPS, requesting his
      address be changed from 40 Sterling Ave, Providence, RI to 211 Hanover St, #1,
      Providence, RI.
100. Rhode Island DMV records for both Patricia JOHNSON and Whayee Sarkpah-Johnson
   list 211 Hanover St., Providence, RI as their address.
101. Further, Patricia JOHNSON Citizen’s Bank Account #XXXXXX0873, used to deposit a
   counterfeit check, lists an address of 211 Hanover St, Apt 1, Providence, RI 02907. Funds
   from a counterfeit HELOC check deposited in Individual #1’s TD Bank account were
   used to purchase two money orders made payable to Patricia JOHNSON, 211 Hanover,
   Prov, RI. In addition, the December 23, 2019, mailing of counterfeit HELOC checks by


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   Patrick JOHNSON was paid for with a debit card issued to Whayee Sarkpah-Johnson of
   211 Hanover Street, Providence, RI.
102. On multiple occasions on September 8, 2020, an individual believed to be Patricia
   JOHNSON was observed exiting and entering the SUBJECT PREMISES 1 in a vehicle
   registered to her. On September 8, 2020 at approximately 6:44 AM, a 2013 red Kia
   Optima bearing RI registration SR561 departed the SUBJECT PREMISES 1 driven by an
   unknown short black female with reddish hair. RI registration SR561 is registered to a
   2013 red Kia Optima in the name of Patricia F. JOHNSON at 211 Hanover Street, Apt 1,
   Providence, RI. Continuing on the same date, at approximately 6:54 AM, the red Kia
   Optima bearing RI registration SR561 returned to the SUBJECT PREMISES driven by
   the unknown short black female with reddish hair.
103. The fraudulent credit card application described in paragraph 48 above which identified
   Patrick JOHNSON as an authorized user, listed a mailing address of 211 Hanover St,
   Providence, RI. Based on my experience, once a credit card application is approved, the
   credit card company will send the newly issued credit card to the address that the applicant
   designates. Accordingly, individuals involved in credit card fraud will use an address
   where they can receive the credit card after the fraudulent credit card is issued by the
   bank.

        SUBJECT PREMISES 2: 439 ADMIRAL ST, APT 3, PROVIDENCE, RI

104. Facebook records provided the following information for username “Teebone Juheard”,
   the Facebook account associated with RICHARDSON. Facebook records revealed on
   August 23, 2020 at 21:02 UTC, RICHARDSON logged into his Facebook account from
   IP 100.40.76.71. Records provided by Verizon revealed IP 100.40.76.71 is associated
   with Electra Smith with the address listed as the SUBJECT PREMISES 2. Additionally,
   Facebook records for “Teebone Juheard” show conversations with “Lectra Smith” in
   which “Lectra Smith” refers to “Teebone Juheard” as the father of their child.
105. In a Facebook message from Lectra Smith to Teebone Juheard on April 30, 2020, at
   approximately 7:50 p.m. Smith states, “Just got home.” Smith then asks, “Wyd” believed
   to be short for “What are you doing?” RICHARDSON using the Teebone Juheard
   account responds, “Checks.” At approximately 11:40 p.m. and 12:03 a.m. that same


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   night, Smith sends Facebook messages to RICHARDSON of photographs of a what
   appears to be a phone (one photograph displays a finger holding the phone) that contained
   the following messages from another individual identified by first name only, “I work in
   Newport though it’s a drive[.] If you can make it tomorrow between 10-3 I have another
   teller on with me who will be doing transactions i can make it work[.] She’ll have to ask
   me for approval but that’s easy[.]” and “An account usually has to be at least 3 months old
   to not throw up any red flags for large deposits.”
106. On Tuesday, December 1, 2020, RICHARDSON was observed by law enforcement
   surveillance arriving at the Garrahy Judicial Complex for a meeting with his probation
   officer. RICHARDSON arrived for his meeting in the blue Ford Fusion with Rhode
   Island tag FQ861. A query of FQ861 (RI) revealed it was registered to Enterprise Rent-A-
   Car located at 1674 Hartford Ave. in Johnston, RI. Enterprise records show that the Ford
   Fusion was rented to Electra Smith with the address listed as the SUBJECT PREMISES 2.
   That vehicle was observed parked at the SUBJECT PREMISES 2 by law enforcement on
   both December 1-2, 2020.
107. On December 8, 2020, the Honorable Patricia A. Sullivan signed a search warrant (20-
   SW-441-PAS), authorizing the search of T-Mobile records for RICHARDSON (Mobile #
   401-677-9165), TARGET PHONE #1, including information about the location of the
   cellular telephone number.
108. On December 18, 2020, between 5:12 AM PST – 8:12 AM PST, location alerts for
   TARGET PHONE #1 revealed that the phone in question was in the area of the SUBJECT
   PREMISES 2 as detailed below:

                   DATE         TIME (PST)   LATITUDE    LONGITUDE    UNCERTAINTY
                 12/18/2020     5:12:26 AM   41.846613   -71.429844      88m
                 12/18/2020     5:42:26 AM   41.846613   -71.429844      88m
                 12/18/2020     5:57:26 AM   41.846613   -71.429844      88m
                 12/18/2020     6:27:26 AM   41.846613   -71.429844      88m
                 12/18/2020     6:42:27 AM   41.846613   -71.429844      88m
                 12/18/2020     6:57:32 AM   41.846613   -71.429844      88m
                 12/18/2020     8:12:26 AM   41.846613   -71.429844      88m



109. Between December 26, 2020 at 9:57 PM PST and December 27, 2020 at 12:12 PM PST,
   location alerts for TARGET PHONE #1 revealed that the phone in question was mostly in
   the area of the SUBJECT PREMISES 2 as detailed below:

                                              35
                   DATE        TIME (PST)   LATITUDE    LONGITUDE    UNCERTAINTY
                 12/26/2020   9:57:31 PM    41.846613   -71.429844      88m
                 12/26/2020   10:27:31 PM   41.846613   -71.429844      88m
                 12/26/2020   10:42:32 PM   41.846613   -71.429844      88m
                 12/26/2020   11:12:27 PM   41.846613   -71.429844      88m
                 12/26/2020   11:42:29 PM   41.846613   -71.429844      88m
                 12/27/2020   12:27:28 AM   41.846613   -71.429844      88m
                 12/27/2020   12:42:27 AM   41.846613   -71.429844      88m
                 12/27/2020   12:57:29 AM   41.846613   -71.429844      88m
                 12/27/2020   1:12:27 AM    41.846613   -71.429844      88m
                 12/27/2020   1:27:28 AM    41.846613   -71.429844      88m
                 12/27/2020   1:42:25 AM    41.846613   -71.429844      88m
                 12/27/2020   1:57:29 AM    41.846613   -71.429844      88m
                 12/27/2020   2:12:26 AM    41.846613   -71.429844      88m
                 12/27/2020   2:27:26 AM    41.846613   -71.429844      88m



110. On February 17, 2021, between 1:40 AM PST – 11:10 AM PST, location alerts for
   TARGET PHONE #1 revealed that the phone in question was in the area of the SUBJECT
   PREMISES 2 as detailed below:

                   DATE        TIME (PST)   LATITUDE    LONGITUDE    UNCERTAINTY
                 2/17/2021     1:40:54 AM   41.846613   -71.429844       88m
                 2/17/2021     2:25:55 AM   41.846613   -71.429844       88m
                 2/17/2021     3:25:56 AM   41.846613   -71.429844       88m
                 2/17/2021     4:25:56 AM   41.846613   -71.429844       88m
                 2/17/2021     5:25:55 AM   41.846613   -71.429844       88m
                 2/17/2021     6:10:55 AM   41.846613   -71.429844       88m
                 2/17/2021     8:40:57 AM   41.846613   -71.429844       88m
                 2/17/2021     9:25:55 AM   41.846613   -71.429844       88m
                 2/17/2021    10:25:57 AM   41.846613   -71.429844       88m
                 2/17/2021    11:10:55 AM   41.846613   -71.429844       88m



111. On December 30, 2020, the USPS North Station delivery unit confirmed Electra Smith
   and Jennifer Creighton are currently receiving mail at the SUBJECT PREMISES 2.
112. A mail cover for 439 Admiral St., 3rd Floor, Providence, RI, confirmed between February
   2, 2021 and February 18, 2021, Electra Smith received mail at the SUBJECT PREMISES
   2 to include a Progressive Insurance documents.
113. A search of the USPS Change of Address system revealed as of February 18, 2021, no
   change of address requests were submitted that listed 439 Admiral St., Providence, RI as a
   previous address. Furthermore, on April 27, 2020, Jennifer Creighton submitted a change
   of address request through the USPS, requesting her address be changed from an address
   in Central Falls, RI to the SUBJECT PREMISES 2.

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            SUBJECT PREMISES 3 RENTED AND USED BY KOBOI, TARGET PHONE #2
              USED BY KOBOI, TARGET VEHICLE RENTED AND USED BY KOBOI

     114. On January 29, 2021, the Honorable Patricia A. Sullivan signed a search warrant (21-
         SW-017-PAS), for TARGET PHONE #2 used by KOBOI for prospective location
         information.
     115.        On February 10, 2021, agents from the US Secret Service assisted with
         conducting surveillance of KOBOI. Ping locations for KOBOI between 3:38 AM and
         4:53 AM showed KOBOI in the area of Gloucester Street (Lat: 41.850829, Long: -
         71.437376) in Providence, RI with 88m of uncertainty. While canvassing the surrounding
         areas, Agents came across the TARGET VEHICLE, a silver Chevrolet Colorado bearing
         CA registration 37035X2 across the street from 754 River Ave in Providence, RI. An
         NCIC query of this vehicle revealed it was registered to Hertz Vehicles, LLC out of Los
         Angeles, CA.
     116.         Continuing on February 10, 2021, I contacted the security department at Hertz
         regarding the TARGET VEHICLE. An investigator with Hertz confirmed that this
         vehicle was rented to Richard KOBOI of 2 Bodell Ave in Providence, RI. The
         investigator stated that KOBOI provided a Rhode Island driver’s license (3319453 24) and
         a phone number of (267) 854-9972, TARGET PHONE #2, to acquire the rental vehicle.
         The investigator stated the TARGET VEHICLE was rented on February 4, 2021 from
         Dollar Rent-A-Car 25 at TF Green Airport and was initially due to be returned on February
         7, 2021. The investigator stated the rental return date was extended by KOBOI but due to
         the credit card used to extend the rental being declined, the TARGET VEHICLE was now
         due back on February 12, 2021. 26


24
 According to RI DMV records, RI driver’s license #3319453 is associated with Richard
KOBOI, 2 Bodell Ave, Apt 6, Providence, RI 02909.
25
     Dollar Rent-A-Car operates as a subsidiary of the Hertz Corporation.
26
  A prior traffic stop of Richard KOBOI on January 8, 2021, by the Rhode Island State Police
(RISP) showed that he was driving a different rental vehicle with tinted windows rented to
Pamela Halloway and returned on January 20, 2021. During the traffic stop, the citation report
indicates that “a few grand ditched in the door upon exit.” On February 23, 2021, I spoke with
the RISP Trooper Corey Hopkins who made the traffic stop. The Trooper indicated that when
KOBOI exited the vehicle, he removed from his pockets and placed what appeared to be few
                                                 37
  117.        On February 12, 2021, ping locations for KOBOI between 12:23 PM and 12:38
      PM showed KOBOI in the area of Smithfield Ave (Lat: 41.8593254, Long: -71.411133) in
      Pawtucket, RI with 88m of uncertainty. While canvassing the surrounding areas,
      Inspectors came across the TARGET VEHICLE outside 210 Seneca Ave in Pawtucket,
      RI. This is the same address KOBOI provided to an individual during their Facebook
      conversation. The TARGET VEHICLE appeared to have aftermarket tinted windows,
      which based upon my experience assists fraudsters and felons with concealing their
      criminal activity, proceeds of the crime, and weapons.
  118.        On February 16, 2021, I spoke to an investigator with Hertz who stated that
      KOBOI never returned the rental car on February 12, 2021 and that the TARGET
      VEHICLE was now due to be returned on February 17, 2021.
  119.        On February 16, 2021, the Honorable Lincoln D. Almond signed a search warrant
      (21-SW-046-LDA), authorizing the installation of a vehicle tracking device on a 2020
      Chevrolet Colorado, the TARGET VEHICLE currently being rented by KOBOI. That
      tracking device was successfully installed by Postal Inspectors on the morning of February
      17, 2021.
  120.         Between February 18, 2021 and February 24, 2021, data from the tracking device
      revealed the TARGET VEHICLE pinging numerous times in a parking lot behind the 91
      Loft Apartments located at 91 Hartford Ave, Providence, RI, which is SUBJECT
      PREMISE 3, showing that it stopped and rested there overnight on multiple days.
      Notably, the vehicle tracker has the accuracy of 1 meter.
  121.        On February 22, 2021, around 8:00 p.m. the tracking device showed the TARGET
      VEHICLE at the First Citizens Bank in New Bedford, Massachusetts. An ATM
      surveillance photo obtained from First Citizens Bank showed what appears to be an image
      of an unidentified male, not KOBOI, in the back seat of the driver side attempting to make
      a transaction. Subsequently, the tracking device showed that the TARGET VEHICLE
      went to a Stop and Shop on Branch Avenue in Providence and then to the parking lot of
      SUBJECT PREMISE 3 at approximately 11:27 a.m. Based upon my experience,


thousand dollars in the car door compartment. Also in the vehicle was a female passenger. The
Trooper stated that the money was bundled up in multiple denominations. KOBOI stated to the
Trooper that it was his girl’s money.

                                               38
   individuals engaging in bank/wire fraud will use their vehicles to travel to banks to make
   deposits of counterfeit checks and/or withdrawals when the funds of the counterfeit checks
   become available.
122.       On February 23, 2021, at approximately 3:20 p.m. I observed the TARGET
   VEHICLE in the parking lot of SUBJECT PREMISE 3. On February 24, 2021, United
   States Secret Service agents assisting in the investigation observed the TARGET
   VEHICLE in the parking lot of the SUBJECT PREMISE 3 at approximately 7:34 a.m. On
   the same date, I observed the TARGET VEHICLE in the parking lot of the SUBJECT
   PREMISE 3 from approximately 10:30 a.m. - 1:30 p.m.
123.        On February 24, 2021, I spoke to the leasing manager at the 91 Lofts Apartment
   who provided me with records confirming KOBOI signed a one year lease agreement
   using the name “Sunnyboy Richard Koboi” for the SUBJECT PREMISE 3 on January 15,
   2021. KOBOI then moved into Apartment 131, a studio apartment, on February 1, 2021,
   the start date for the lease. The leasing manager stated KOBOI provided a RI driver’s
   license as identification, a phone number of 267-854-9972, which is TARGET PHONE
   #2, and an email address of richardkoboi95@gmail.com.
124.       The leasing manager stated that KOBOI lives by himself and that there are no
   other occupants listed on the lease. Both the security deposit of $1500 and first month of
   rent of $1500 that was due upon signing the lease was paid for in cash.
125.       While at the SUBJECT PREMISE 3, I viewed video surveillance footage from
   multiple cameras all around the apartment complex for February 22, 2021, at 11:27 p.m.,
   the same time the TARGET VEHICLE was pinging in the parking lot of the SUBJECT
   PREMISES 3. KOBOI was observed on camera entering the complex parking lot in the
   TARGET VEHICLE. After parking, KOBOI met up with two other individuals who
   arrived in a separate vehicle and parked directly in front of KOBOI. After a short
   conversation in the parking lot, KOBOI and the two individuals, entered a side entrance
   and video surveillance showed that KOBOI entered Apartment 131. It should be noted
   that access to the apartment building is with a key fob and unique access code. Records
   related to key fob activity by KOBOI were requested and are currently being prepared by
   a 3rd party company that maintains the information.



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126. Based upon my review of the tracking device pings of the TARGET VEHICLE at the
   SUBJECT PREMISE 3, cell phone location for TARGET PHONE #2 being in the vicinity
   of the SUBJECT PREMISE 3, discussions with the leasing manager for SUBJECT
   PREMISE 3, review of leasing records for SUBJECT PREMISE 3, and review of video
   surveillance from TARGET PREMISE 3 which shows KOBOI entering TARGET
   PREMISE 3, I believe TARGET PREMISE 3 is KOBOI’s current residence.
E. SUMMARY OF DEFENDANTS INVOLVEMENT
127. As described herein, from November through December 2019, Patrick JOHNSON mailed
   out at least seven counterfeit HELOC checks totaling $384,700 to various individuals
   throughout the United States for them to deposit and withdraw the funds. Based upon my
   training and experience, JOHNSON was assisted by other co-conspirators in the scheme
   as he appears to be talking and/or texting and/or taking photos on a cellphone while
   conducting some of these mailing transactions inside the post office as shown by post
   office video surveillance which captured JOHNSON. In addition, JOHNSON taking
   photographs of the mailing envelopes suggests that he and/or a co-conspirator intended to
   follow up with the counterfeit check recipient in order to obtain the funds deposited.
128. As described herein, in October of 2019, Individual #1 received a counterfeit Beth Page
   FCU HELOC check from Patrick JOHNSON and was instructed to deposit it into her TD
   Bank account. Patrick JOHNSON, accompanied by Terrance RICHARDSON and
   Individual #1’s boyfriend at the time, then drove Individual #1 to the USPS Post Office
   and instructed her to purchase money orders. Those money orders were made payable to
   and cashed the following day by Patricia JOHNSON whose driver’s license number was
   recorded as identification presented for the transaction.
129. As described herein, in October of 2019, a fraudulent credit card application in the name
   DB was submitted online to US Bank using DB’s social security number and date of birth.
   The application identified Patrick JOHNSON as an authorized user and listed a mailing
   address of 211 Hanover St, Providence, RI. Additionally, records related to the email
   address Fainb659@gmail.com that was used on the application listed a recovery telephone
   number of (347) 230-7119. That number is associated with a MagicJack account that lists
   an address of 211 Hanover St, Apt 2, Providence, RI.



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130. As described herein, on January 23, 2020, KOBOI and Patricia JOHNSON conversed
   over Facebook messenger about using her Citizen’s Bank account to deposit a counterfeit
   check into and then to withdraw those funds. In the Facebook conversation, KOBOI made
   arrangements to pick up Patricia JOHNSON’s bank card outside SUBJECT PREMISES 1,
   and Patricia JOHNSON provided KOBOI her online banking login and password as well
   as her bank card pin. As described herein, on January 23, 2020, a check for $8,352.16,
   made payable to Patricia JOHNSON was deposited into her Citizens Bank account via an
   ATM deposit. Prior to the check being returned as fraudulent, approximately $4,500.00 of
   the funds from the account were removed via ATM withdrawals and debit card purchases.
131. As described herein, Facebook records pursuant to a federal search warrant for account
   “Teebone Juheard” revealed that Terrance RICHARDSON communicated with various
   co-conspirators to cash/deposit counterfeit checks, obtain information for
   cashing/depositing counterfeit checks, and/or produce paper stock for counterfeit checks.
   Among the counterfeit checks that RICHARDSON caused to be deposited was in
   Individual #5’s name and using Individual #5’s debit card information. RICHARDSON
   then refused to return Individual’s #5 debit card back to him and sent a photograph of the
   debit card next to what appears to be handgun.
132.        As described herein, between April 14, 2020 and July 9, 2020, six checks totaling
   $115,877.69, made payable to Terrance RICHARDSON were deposited into his Chase
   Bank accounts via ATM deposits. Prior to the checks being returned as fraudulent,
   RICHARDSON was able to obtain approximately $42,547.66 of the funds from the
   accounts via debit card transactions, ATM withdrawals and money transfers to various
   bank accounts. Surveillance photographs and video provided by Chase Bank show
   RICHARDSON making several of the aforementioned cash withdrawals and wearing a
   gold chain with a “TEE BONE” diamond pendant in some of the surveillance photos
   which is identical to the gold chain and diamond pendant he is wearing in several photos
   on his Facebook page “Teebone Juheard.”
133. As described herein, Facebook records obtained pursuant to a federal search warrant for
   account “Sunnyboy Taylor” revealed that KOBOI communicated with various co-
   conspirators to cash/deposit counterfeit checks, obtain information for cashing/depositing
   counterfeit checks, and for creating fraudulent checks.


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134.       As described herein, KOBOI’s Facebook messages with a co-conspirator showed
   that KOBOI caused a counterfeit check drawn on victims MB and DB’s HELOC bank
   account to be deposited into that co-conspirator’s Citizens Bank account on November 4,
   2020. DB was the identity theft victim associated with the fraudulent credit card
   application submitted in DB’s name on October 28, 2019, in which Patrick JOHNSON
   was identified as an authorized user.
135.       As described herein, between April 8, 2020 and April 9, 2020, three checks
   totaling $14,494.20, made payable to Richard KOBOI were deposited into his Wells Fargo
   accounts via ATM deposits. Prior to the checks being returned as fraudulent, KOBOI was
   able to obtain approximately $9,131.19 of the funds from the accounts via ATM
   withdrawals and debit card purchases. Surveillance photographs provided by Wells Fargo
   show KOBOI making the aforementioned deposits in Delaware and Connecticut, and one
   of the subsequent withdrawals in Connecticut. Additionally, a gold chain worn by
   KOBOI in one of the surveillance photos is identical to a gold chain he is wearing in
   several photos on his Facebook page.
136. As described herein, on March 18, 2020, a US Treasury check for $5,292.00, made
   payable to victim JK was deposited into KOBOI’s Chase Bank account via an ATM
   deposit. Ultimately, Chase Bank restricted this deposit due to the presence of a third-party
   payee. The victim confirmed it was stolen, negotiated without her consent, and that the
   endorsement on the check was not JK’s signature.
137. As described herein, between July 6, 2020 and July 30, 2020, Richard KOBOI received
   six ACH credits into his Bank Newport account, totaling $5,685.00, from three different
   state sponsored entities which were ultimately deemed fraudulent.
138.       As described herein, I was notified by the Warwick (RI) Police Department
   regarding a counterfeit check that was deposited via ATM into a Pawtucket Credit Union
   account on October 16, 2020. Surveillance photographs provided by Pawtucket CU show
   Richard KOBOI making the aforementioned deposit at the Pawtucket CU ATM.
139.       As described herein, after reviewing records related to KOBOI’s Facebook
   account, a bank investigator with First Citizens FCU confirmed a counterfeit check was
   deposited via ATM into a First Citizens FCU account on October 20, 2020. Surveillance



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   photographs provided by First Citizens FCU show Richard KOBOI making the
   aforementioned deposit at the First Citizens FCU ATM.
     TRAINING AND EXPERIENCE ON FRAUD AND FIREARM OFFENSES
140. Based on my training and experience and familiarity with investigations into fraud
   conducted by other law enforcement agents, I know the following:
        a. Individuals maintain in their homes and vehicles, both in paper and electronic
            format, among other items, records regarding the receipt and expenditure of
            money, documents relating to the purchase of assets, and records pertaining to
            their employment or business. Similarly, given the nature of the fraud, based on
            my training and experience, I believe that participants in a long running fraud that
            involves several participants, more often than not, will keep records containing
            names, addresses, email addresses, and telephone numbers of co-conspirators, as
            well as targets and victims, amounts received from them, and amounts sent to co-
            conspirators. These records are necessary to further the illicit fraud business and
            can be found in paper form or stored electronically in cell phones and other
            electronic devices. Owing to the long-term usefulness of such items, and tracking
            relative proceeds among co-conspirators, this type of evidence would likely be
            generated, maintained, and then possibly forgotten about and not disposed of.
        b. There are many reasons why criminal offenders maintain evidence for long
            periods of time. First, to the offender, the evidence may seem innocuous at first
            glance (e.g. financial, credit card and banking documents, travel documents,
            receipts, documents reflecting purchases of assets, personal calendars, telephone
            and address directories, checkbooks, videotapes and photographs, utility records,
            ownership records, letters and notes, tax returns and financial records, escrow
            files, telephone and pager bills, keys to safe deposit boxes, packaging materials,
            computer hardware and software). To law enforcement, however, such items may
            have significance and relevance when considered in light of other evidence.
            Second, the criminal offender may no longer realize he/she still possesses the
            evidence or may believe law enforcement could not obtain a search warrant to
            seize the evidence. The criminal offender may also be under the mistaken belief
            that he/she has deleted, hidden or further destroyed computer-related evidence,


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              which in fact, may be retrievable by a trained forensic computer expert. Thus,
              records and ledger-type evidence that one would think a prudent person might
              destroy because of its incriminatory nature are sometimes still possessed months
              or even years after the records were created.
           c. From training and experience I know that individuals who amass proceeds from
              illegal activities routinely attempt to further that conduct and/or conceal the
              existence and source of their funds by engaging in financial transactions with
              domestic and foreign institutions, and others, through all manner of financial
              instruments, including cash, cashier’s checks, money drafts, traveler’s checks,
              wire transfers, etc. Records of such instruments are oftentimes maintained at the
              individual’s residence or some other place over which they maintain dominion
              and control.
           d. In addition, during the course of such residential searches, I and other agents have
              also found items of personal property that tend to identify the person(s) in
              residence, occupancy, control, or ownership of the SUBJECT PREMISES and
              computer devices located therein. Such identification evidence is typical of the
              articles people commonly maintain in their residences, such as canceled mail,
              deeds, leases, rental agreements, photographs, personal telephone books, diaries,
              utility and telephone bills, statements, identification documents, and keys.
           e. Based on my experience and the experience of Alcohol, Tobacco, Firearms, and
              Explosives (ATF) agents who have assisted me in this investigation, persons
              prohibited from possessing firearms keep their firearms in locations for
              safekeeping and which they can access to include their residences, residences of
              close associates, and vehicles. They do so in order to protect the proceeds of their
              criminal activity and because of the value of the firearms and the difficulty in
              obtaining such firearms as prohibited persons.
                TRAINING AND EXPERIENCE ON DIGITAL DEVICES 27


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   As used herein, the term “digital device” includes any electronic system or device capable of
storing or processing data in digital form, including central processing units; desktop, laptop,
notebook, and tablet computers; personal digital assistants; wireless communication devices,
such as paging devices, mobile telephones, and smart phones; digital cameras; gaming consoles;
peripheral input/output devices, such as keyboards, printers, scanners, monitors, and drives;
                                                44
  141. Based on my training, experience, and information from those involved in the forensic
      examination of digital devices, I know that the following electronic evidence, inter alia, is
      often retrievable from digital devices:
          a. Forensic methods may uncover electronic files or remnants of such files months
              or even years after the files have been downloaded, deleted, or viewed via the
              Internet. Normally, when a person deletes a file on a computer, the data
              contained in the file does not disappear; rather, the data remain on the hard drive
              until overwritten by new data, which may only occur after a long period of time.
              Similarly, files viewed on the Internet are often automatically downloaded into a
              temporary directory or cache that are only overwritten as they are replaced with
              more recently downloaded or viewed content and may also be recoverable months
              or years later.
          b. Digital devices often contain electronic evidence related to a crime, the device’s
              user, or the existence of evidence in other locations, such as, how the device has
              been used, what it has been used for, who has used it, and who has been
              responsible for creating or maintaining records, documents, programs,
              applications, and materials on the device. That evidence is often stored in logs
              and other artifacts that are not kept in places where the user stores files, and in
              places where the user may be unaware of them. For example, recoverable data
              can include evidence of deleted or edited files; recently used tasks and processes;
              online nicknames and passwords in the form of configuration data stored by
              browser, e-mail, and chat programs; attachment of other devices; times the device
              was in use; and file creation dates and sequence.
          c. The absence of data on a digital device may be evidence of how the device was
              used, what it was used for, and who used it. For example, showing the absence of
              certain software on a device may be necessary to rebut a claim that the device was
              being controlled remotely by such software.
          d. Digital device users can also attempt to conceal data by using encryption,
              steganography, or by using misleading filenames and extensions. Digital devices


related communications devices, such as modems, routers, cables, and connections; storage
media; and security devices.
                                                45
            may also contain “booby traps” that destroy or alter data if certain procedures are
            not scrupulously followed. Law enforcement continuously develops and acquires
            new methods of decryption, even for devices or data that cannot currently be
            decrypted.
142. Based on my training, experience, and information from those involved in the forensic
   examination of digital devices, I know that it is not always possible to search devices for
   data during a search of the premises for a number of reasons, including the following:
        a. Digital data are particularly vulnerable to inadvertent or intentional modification
            or destruction. Thus, often a controlled environment with specially trained
            personnel may be necessary to maintain the integrity of and to conduct a complete
            and accurate analysis of data on digital devices, which may take substantial time,
            particularly as to the categories of electronic evidence referenced above. Also,
            there are now so many types of digital devices and programs that it is difficult to
            bring to a search site all of the specialized manuals, equipment, and personnel that
            may be required.
        b. Digital devices capable of storing multiple gigabytes are now commonplace. As
            an example of the amount of data this equates to, one gigabyte can store close to
            19,000 average file size (300kb) Word documents, or 614 photos with an average
            size of 1.5MB.
143. Because several people may share the SUBJECT PREMISES as a residence, it is possible
   that the SUBJECT PREMISES will contain storage media that are predominantly used,
   and perhaps owned, by persons who are not suspected of a crime. If it is nonetheless
   determined that that it is possible that the things described in this warrant could be found
   on any of those computers or storage media, the warrant applied for would permit the
   seizure and review of those items as well.
144. The search warrant also requests authorization to use the biometric unlock features of a
   device, based on the following, which I know from my training, experience, and review of
   publicly available materials:
        a. Users may enable a biometric unlock function on some digital devices. To use
            this function, a user generally displays a physical feature, such as a fingerprint,
            face, or eye, and the device will automatically unlock if that physical feature


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            matches one the user has stored on the device. To unlock a device enabled with a
            fingerprint unlock function, a user places one or more of the user’s fingers on a
            device’s fingerprint scanner for approximately one second. To unlock a device
            enabled with a facial, retina, or iris recognition function, the user holds the device
            in front of the user’s face with the user’s eyes open for approximately one second.
        b. In some circumstances, a biometric unlock function will not unlock a device even
            if enabled, such as when a device has been restarted or inactive, has not been
            unlocked for a certain period of time (often 48 hours or less), or after a certain
            number of unsuccessful unlock attempts. Thus, the opportunity to use a biometric
            unlock function even on an enabled device may exist for only a short time. I do
            not know the passcodes of the devices likely to be found in the search.
        c. Thus, the warrant I am applying for would permit law enforcement personnel to,
            with respect to any device that appears to have a biometric sensor and falls within
            the scope of the warrant: (1) depress TERRANCE RICHARDSON/ RICHARD
            KOBOI/ PATRICK JOHNSON’s/PATRICIA JOHNSON’s thumb- and/or fingers
            on the device(s); and (2) hold the device(s) in front of RICHARDSON/KOBOI/
            PATRICK JOHNSON/PATRICIA JOHNSON’s face with his/her eyes open to
            activate the facial-, iris-, and/or retina-recognition feature.
        d. Other than what has been described herein, to my knowledge, the United States
            has not attempted to obtain this data by other means.
                      BACKGROUND ON T-MOBILE AND E-911
145. Based upon my training and experience, I believe that the E-911 Phase II data provided
   by T-Mobile will be of benefit in locating the movements of the individual utilizing the
   TARGET PHONES 1-2 and this locator information provided will be of benefit in
   identifying the location and or locations that RICHARDSON and KOBOI are utilizing to
   deposit fraudulently obtained funds; the locations RICHARDSON and KOBOI are using
   to meet with co-conspirators, and the locations to possibly include the physical residences
   of any other criminal co-conspirators involved in this counterfeit check cashing scheme;
   and the identification of locations where proceeds and facilitating property used in the
   bank fraud scheme are stored including but not limited to printers, check stock, and
   victims’ bank information to include debit cards.


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  146. In my training and experience, I have learned that T-Mobile is a company that provides
      cellular telephone access to the general public. I also know that providers of cellular
      telephone service have technical capabilities that allow them to collect and generate at
      least two kinds of information about the locations of the cellular telephones to which they
      provide service: (1) E-911 Phase II data, also known as GPS data or latitude-longitude
      data, and (2) cell-site data, also known as "tower/face information" or cell tower/sector
      records. E-911 Phase II data provides relatively precise location information about the
      cellular telephone itself, either via GPS tracking technology built into the phone or by
      triangulating on the device's signal using data from several of the provider's cell towers.
      Cell-site data identifies the "cell towers" (i.e., antenna towers covering specific geographic
      areas) that received a radio signal from the cellular telephone and, in some cases, the
      "sector" (i.e., faces of the towers) to which the telephone connected. These towers are
      often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in
      rural areas. Furthermore, the tower closest to a wireless device does not necessarily serve
      every call made to or from that device. Accordingly, cell-site data is typically less precise
      that E-911 Phase II data.
  147. Based on my training and experience, I know that T-Mobile can collect E-911 Phase II
      data about the location of the TARGET PHONES including by initiating a signal to
      determine the location of the TARGET PHONES on T-Mobile's network or with such
      other reference points as may be reasonably available. Additionally, I know that T-Mobile
      can collect cell-site data about the TARGET PHONES.


IV.   CONCLUSION

  148. From my training and experience, I am aware that the counterfeit check scheme described
      above is extremely widespread. According to records maintained by the Postal Inspection
      Service, this scheme and similar schemes have affected thousands of victims in the United
      States. These victims reside throughout the United States. In my training and experience
      and based upon my review of the records in this case, it is likely that the same individuals
      who victimized the aforementioned individuals have victimized other individuals using
      the same or similar scheme. In my training and experience, fraudsters using these



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        counterfeit check cashing techniques tend to follow the same modus operandi in their
        interactions with different victims.
     149. Based upon my experience and my knowledge of these types of scams and social media
        postings, there is probable cause to believe that Terrance RICHARDSON, Richard
        KOBOI, and Patrick JOHNSON were engaged in a counterfeit check kiting / cashing
        schemes in violation of in violation of 18 U.S.C. § 1344 (Bank Fraud), in violation of 18
        U.S.C. § 1343 (Wire Fraud), in violation of 18 U.S.C. § 1349 (Conspiracy to Commit
        Wire and Bank Fraud), and 18 U.S.C. § 1028A (Aggravated Identity Theft). From the
        Facebook records that I have reviewed thus far, including interviews conducted, the
        schemes are as follows:
            a. RICHARDSON and KOBOI recruit individuals who have a bank account or are
                willing to establish a bank account at their request. Based on their Facebook
                postings it appears that RICHARDSON and KOBOI prefer individuals who
                already have a bank account established. 28 One of the individuals recruited by
                KOBOI was Patricia JOHNSON who provided KOBOI with her bank account
                information and bank card to deposit a counterfeit check.
            b. RICHARDSON, KOBOI, and/or Patrick JOHNSON then request that the
                individual provide to them his/her identification and his/her bank card and/or
                accompany the individual to the bank to make the counterfeit check deposit. I
                believe that RICHARDSON and KOBOI often keep that individual’s
                identification as collateral and then establishes (or has the co-conspirator
                establish) a mobile banking relationship with their bank. This permits the co-
                conspirator, RICHARDSON, and/or KOBOI to perform activities such as a
                mobile deposit. 29

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  Based upon my training and experience including dozens of investigations involving the
banking system while employed with the United States Secret Service, I am aware that
individuals using the banking system to commit fraud often prefer established bank accounts
over newly created accounts because the banks often utilize more rigorous fraud mechanisms
against newly created accounts. This enables an established account holder to have the ability to
defraud a bank of more money than a newly created account would be able to do.
29
  A mobile deposit is a feature commonly offered by banks whereby they allow a user to take a
picture of a negotiable instrument such as a check or money order and deposit the item into their
bank account without ever visiting the bank.
                                                  49
c. RICHARDSON and KOBOI offer to compensate the co-conspirator in varying
   amounts based on the type of account the individual has at their respective bank.
d. Based on the various bank policies (which appears to be how RICHARDSON
   associates a value to the account), the bank will often allow a percentage of the
   deposited funds to show as available pending the clearing of the full amount.
   Often times these funds are shown as available immediately after the negotiable
   instrument is deposited into the account via the mobile banking application.
e. Using these available funds, RICHARDSON, KOBOI, and/or a co-conspirator
   then visit a bank branch and utilize the debit card and PIN number to remove the
   available funds from the account and/or transfer funds online. However, some
   banks limit the amount of cash that can be immediately withdrawn but will allow
   the funds to be used for other purchases.
f. Several days later, once the negotiable instrument is returned to the bank as
   fraudulent, the bank attempts to restrict the account and make contact with the
   account holder. The bank will advise the account holder that they can either repay
   the amount or they will be sent to collections. If the amount remains uncollectible
   the bank may submit the claim to their insurance provider for coverage on the
   loss.
g. In addition, Patrick JOHNSON and possibly others unknown to investigators at
   this time mailed out counterfeit check to individuals throughout the country in this
   mail/bank/wire fraud scheme. While it is unclear at this time on how these
   individuals receiving the checks were targeted and how JOHNSON and/or his co-
   conspirators were to obtain the funds from these counterfeit check deposits, there
   is probable cause to believe that the search of SUBJECT PREMISES 1 will
   contain evidence of the mail/bank/wire fraud scheme and conspiracy given the
   expansive scope of this interstate scheme.
h. Further in this fraud scheme, Terrance RICHARDSON used the name of a real
   individual on a counterfeit check and the real individual’s debit card information
   to deposit a counterfeit check into that individual’s bank account, Richard KOBOI
   used the name and forged signature of real individual in an attempt to deposit a
   U.S. Treasury check into KOBOI’s own bank account, and Patrick JOHNSON


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             also used the name and identifying information of a real individual in a credit
             application in an attempt to fraudulently obtain a credit card in the victim’s name.
150. Based on all of the foregoing facts, I submit that there is probable cause search the
   SUBJECT PREMISES, TARGET PHONES, and TARGET VEHICLE for the items
   described in the corresponding attachments attached to this affidavit and referenced in
   paragraph 2.
151. Based on the foregoing, I also request that the Court issue the proposed search warrants
   for information about the location of TARGET PHONES #1 and #2, pursuant to Federal
   Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c). I further request, pursuant to 18
   U.S.C. § 3103a(b) and Federal Rule of Criminal Procedure 41(f)(3), that the Court
   authorize the officer executing the warrant to delay notice until 30 days after the collection
   authorized by the warrant has been completed. There is reasonable cause to believe that
   providing immediate notification of the warrant may have an adverse result, as defined in
   18 U.S.C. § 2705. Providing immediate notice to the subscriber or user of the TARGET
   PHONES #1 and #2 would seriously jeopardize the ongoing investigation, as such a
   disclosure would give that person an opportunity to destroy evidence, change patterns of
   behavior, notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a (b)(l). It is
   further requested that the Court ORDER T-Mobile not to disclose the existence of the
   warrant sought even if the customer should inquire as to the existence of any tracking
   warrants. As further specified in Attachment D, which is incorporated into the warrant,
   the proposed search warrant does not authorize the seizure of any tangible property. See 18
   U.S.C. § 3103a (b)(2). Moreover, to the extent that the warrant authorizes the seizure of
   any wire or electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire
   or electronic information, there is reasonable necessity for the seizure for the reasons set
   forth above. See 18 U.S.C. § 3103a (b)(2).
152. I further request that the Court direct T-Mobile to disclose to the government any
   information described in Attachment D that is within the possession, custody, or control of
   T­ Mobile. I also request that the Court direct T-Mobile to furnish the government all
   information, facilities, and technical assistance necessary to accomplish the collection of
   the information described in Attachment D unobtrusively and with a minimum of
   interference with T-Mobile' s services, including by initiating a signal to determine the


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   location of the TARGET PHONES #1 and #2 on T­ Mobile's network or with such other
   reference points as may be reasonably available, and at such intervals and times directed by
   the government. The government shall reasonably compensate T­ Mobile for reasonable
   expenses incurred in furnishing such facilities or assistance.
153. I further request that the Court authorize execution of the warrant at any time of day or
   night, owing to the potential need to locate the TARGET PHONES #1 and #2 outside of
   daytime hours.
154. Because this investigation is continuing and disclosure of some of the details of this
   affidavit may cause the targets or other affiliated persons to flee or further mask their
   identity or activities, destroy physical and/or electronic evidence, or otherwise obstruct and
   seriously jeopardize this investigation, I respectfully request that this affidavit, and
   associated materials seeking this search warrant, be sealed for a period of 90 days or until
   further order of this Court. Finally, I specifically request that the sealing order not prohibit
   information obtained from this warrant from being shared with other law enforcement and
   intelligence agencies.


     I declare that the foregoing is true and correct.




                                            Cory P. McManus
                                            Postal Inspector
                                            US Postal Inspection Service


       Attested to by the applicant in accordance with the requirements of Fed.
       R. Crim. P. 4.1 by ____________________________________________.
                             Sworn telephonically and signed electronically
                                (specify reliable electronic means)
    February 26, 2021
 ______________________                     __________________________________
        Date                                      Judge’s signature

 Providence, Rhode Island
 ______________________                     __________________________________
                                             Patricia A. Sullivan, USMJ
      City and State                              Printed name and title




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                                      ATTACHMENT A-1

                                PREMISES TO BE SEARCHED

         The SUBJECT PREMISES 1 is the premises at 211 Hanover Street, Apt 1, Providence,
RI 02907. SUBJECT PREMISES 1 is described as a multi-family home. SUBJECT
PREMISES 1 is the 3rd multi-family home on the left, in a group of six similarly-styled multi-
family homes on Hanover Street. The numbers “211” is clearly marked in black numbers to the
left of the front door.

         The area to be searched at the SUBJECT PREMISES 1 includes all rooms, annexes,
attics, basements, porches, garages, carports, outside yard area, curtilage, mailboxes, trash
containers, debris boxes, storage lockers, locked containers and safes, lockers, sheds, and any
visible structures and outbuildings associated with the SUBJECT PREMISES 1 and shall extend
into desks, cabinets, safes, briefcases, backpacks, wallets, purses, digital devices, and any other
storage locations within SUBJECT PREMISES 1.

       The search shall also include any computers, cellular telephones, storage media/medium,
and digital devices.

       The search shall also include any person located at the SUBJECT PREMISES 1, as
defined above, at the time the search warrant is executed, and any computers, cellular telephones,
storage media/medium, briefcases, backpacks, wallets, purses on such persons.
                                      ATTACHMENT B-1

   A. ITEMS TO BE SEIZED

The following materials, which constitute evidence of the commission of a criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as a means of committing a criminal offense, namely violations of Mail Fraud in violation
of 18 U.S.C. § 1341, Wire Fraud in violation of 18 U.S.C. § 1343, Bank Fraud in violation of 18
U.S.C. § 1344, Aggravated Identity Theft in violation of 18 U.S.C. § 1028A and Conspiracy to
Commit Wire Fraud and Bank Fraud in violation of 18 U.S.C. § 1349:

   1.      Records and other materials, including notes, ledgers, envelopes, and packaging
           materials, relating to solicitation and/or receipt of cash, money orders, checks, or wire
           transfers that were sent to Patrick JOHNSON, Patricia JOHNSON, to known and
           unknown conspirators, including but not limited to, Terrance Richardson, and
           Richard Koboi and to entities in the name of or associated with Patrick JOHNSON
           and/or Patricia JOHNSON;

Records and other materials, including notes, ledgers, envelopes, and packaging materials,
relating to receipt of cash, money orders, counterfeit checks, or wire transfers that were involved
in the fraud scheme;
    2.       Records relating to any communications by, between, and among Patrick JOHNSON
             and/or Patricia JOHNSON, victims, and known and unknown conspirators, including
             but not limited to, Terrance Richardson, and Richard Koboi relating to the receipt,
             solicitation, and transfer of funds and/or any counterfeit check cashing scheme;

   3.      Records relating to the means of identifications including, but not limited to name,
           social security number, date of birth of other individuals, banking account
           information of other individuals, and the use and/or creation of false identifications
           and personas;

   4.      Any and all opened or sealed USPS Priority or other mail envelopes and packages
           and receipts of the mailing transactions in relation to any counterfeit check scheme
           and/or the transfer and receipt of funds between the subjects of the investigation and
           other persons;

   5.      Records relating to the use, possession, and control of cellular telephones seized from
           the SUBJECT PREMISES 1 and/or any person located therein, and any landline
           telephones or internet service associated with the SUBJECT PREMISES 1;

   6.      Records relating to any communications with co-conspirators and victims, including
           telephone, electronic, or in person communications with co-conspirators and victims
           in relation to the specified federal offenses, any counterfeit checks, the transfer and
           receipt of funds between the subjects of the investigation and other persons;
7.    Records, documents, and deeds reflecting the purchase or lease of real estate,
      vehicles, precious metals, jewelry, or other items obtained with the proceeds from a
      fraud;

8.    Documents and articles of personal property reflecting the identity of persons and/or
      entities occupying, possessing, residing in, owning, frequenting, or controlling the
      SUBJECT PREMISES 1, including keys, rental agreements and records, utility bills
      and receipts, photographs, answering machine tape recordings, telephone, vehicle
      records, canceled mail envelopes, correspondence, financial documents such as tax
      returns, bank records, safety deposit box records, canceled checks, and other records
      of income and expenditure, credit card records, travel documents, personal
      identification documents, including birth certificates, driver’s license, immigration
      cards, and other forms of identification;

9.    Any records which document an association with co-conspirators, including
      photographs, video and audio recordings;

10.   All notes, documents, records, correspondence, diaries, and address books, in any
      format or medium (including, but not limited to, computer or digital data files,
      envelopes, letters, papers, handwritten notes, and electronic messages, chat logs and
      electronic records) in relation to a counterfeit check scheme and/or the transfer and
      receipt of funds between the subjects of the investigation and other persons;

11.   Checks, ATM and bank deposit/withdrawal receipts, stock paper for producing
      counterfeit checks;

12.   Banking, money remitter, and financial institution records, including but not limited
      to bank statements, credit card statements, canceled checks, money orders, deposit
      slips, orders for receipt or sending of money transfer by wire, checking and savings
      books, financial institution statements, records of safe deposit boxes, Whayee
      Sarkpah-Johnson’s Citizens Bank debit card ending in 5301, and Patricia Johnson’s
      Citizens Bank Account records including associated debit card ending in 0873;

13.   Clothing worn by Patrick JOHNS           ON while mailing out counterfeit checks
      including a black shirt with the word “STACKS” in white block lettering and a two-
      tone gray cardigan;

14.   Handwritten documents associated with Patricia JOHNSON and Patrick JOHNSON;

15.   For any computer or storage medium whose seizure is otherwise authorized by this
      warrant, and any computer or storage medium that contains or in which is stored
      records or information whose seizure is authorized by this warrant, including any cell
      phones and printers (hereinafter, "COMPUTER"):

      a. evidence of who used, owned, or controlled the COMPUTER at the time the
         things described in this warrant were created, edited, or deleted, such as logs,
           registry entries, configuration files, saved user names and passwords, documents,
           browsing history, user profiles, email, email contacts, "chat," instant messaging
           logs, photographs, and correspondence;
      b.   evidence of software that would allow others to control the COMPUTER, such as
           viruses, Trojan horses, and other forms of malicious software, as well as evidence
           of the presence or absence of security software designed to detect malicious
           software;
      c.   evidence of the lack of such malicious software;
      d.   evidence indicating how and when the computer was accessed or used to
           determine the chronological context of computer access, use, and events relating
           to the crimes under investigation and to the computer user;
      e.   evidence indicating the computer user's knowledge and/or intent as it relates to
           the crimes under investigation;
      f.   evidence of the attachment to the COMPUTER of other storage devices or similar
           containers for electronic evidence;
      g.   evidence of programs (and associated data) that are designed to eliminate data
           from the COMPUTER;
      h.   evidence of the times the COMPUTER was used;
      i.   passwords, encryption keys, and other access devices that may be necessary to
           access the COMPUTER;
      j.   documentation and manuals that may be necessary to access the COMPUTER or
           to conduct a forensic examination of the COMPUTER;
      k.   records of or information about Internet Protocol addresses used by the
           COMPUTER; and
      l.   records of or information about the COMPUTER's Internet activity, including
           firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"
           web pages, search terms that the user entered into any Internet search engine, and
           records of user-typed web addresses.

      The term “computer” includes all types of electronic, magnetic, optical,
      electrochemical, or other high-speed data processing devices performing logical,
      arithmetic, or storage functions, including desktop computers, notebook computers,
      mobile/cellular phones, tablets, server computers, and network hardware. The term
      “storage medium” includes any physical object upon which computer data can be
      recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-
      ROMS, and other magnetic or optical media.

16.   Routers, modems, and network equipment used to connect computers to the Internet.

17.   As used in this Attachment, the terms “records” and “information” includes all forms
      of creation or storage, including any form of computer or electronic storage (such as
      hard disks or other media that can store data); any handmade form (such as writing);
      any mechanical form (such as printing or typing); and photographic form (such as
      microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
      photocopies).
      18.     With respect to any and all electronically stored information in cellular telephones, in
              addition to the information described herein, agents may also access, record and seize
              the following:
              a. Telephone numbers of incoming/outgoing calls stored in the call registry;
              b. Digital, cellular and/or telephone numbers and/or direct connect numbers, names
                  and identities stored in the directories;
              c. Any incoming/outgoing text messages relating to the above criminal violations;
              d. Telephone subscriber information;
              e. The telephone numbers stored in the cellular telephone and/or PDA;
              f. records relating to the use, possession, and control of any cellular telephones
                  seized;
              g. Any other electronic information stored in the memory and/or accessed by the
                  active electronic features of the digital or cellular telephone including but not
                  limited to photographs, videos, e-mail, and voice mail relating to the above
                  criminal violations.

      19.     Contextual information necessary to understand the evidence described in this
              attachment.

II.         AUTHORIZED SEARCH PROCEDURE

      1.      Law enforcement personnel or other individuals assisting law enforcement personnel
              (the “search team”) will, in their discretion, either search the digital device(s) on-site
              or seize and transport the device(s) and/or forensic image(s) thereof to an appropriate
              law enforcement laboratory or similar facility to be searched at that location.

      2.      In order to search for the items described above that may be maintained in electronic
              media, the search team are authorized to search, copy, image and seize the following
              items for off-site review:
              a. Any computer or storage medium capable of being used to commit further or
                  store evidence of the Specified Federal Offenses; and
              b. Any physical keys, encryption devices, dongles and similar physical items that are
                  necessary to gain access to the computer or storage medium;

      3.      Pursuant to Rule 41(f)(1)(B), the government will retain a copy of the electronically
              stored information that was seized or copied for the purpose of the evidentiary
              authentication and any potential discovery obligations in any related prosecution.

      B. SEARCH PROCEDURE FOR DEVICES CAPABLE OF BIOMETRIC ACCESS

      1. During the execution of this search warrant, law enforcement is permitted to:

              a. depress PATRICK JOHNSON’S and/or PATRICIA JOHNSON’s thumb and/or
                 fingers onto the fingerprint sensor of the device (only when the device has such a
                 sensor), and direct which specific finger(s) and/or thumb(s) shall be depressed;
                 and
           b. hold the device in front of PATRICK JOHNSON and/or PATRICIA JOHNSON’s
              face with her eyes open to activate the facial-, iris-, or retina-recognition feature,
              in order to gain access to the contents of any such device.

In depressing a person’s thumb or finger onto a device and in holding a device in front of a
person’s face, law enforcement may not use excessive force, as defined in Graham v. Connor,
490 U.S. 386 (1989); specifically, law enforcement may use no more than objectively reasonable
force in light of the facts and circumstances confronting them.

The special procedures relating to digital devices found in this warrant govern only the search of
digital devices pursuant to the authority conferred by this warrant and do not apply to any search
of digital devices pursuant to any other court order.
                                      ATTACHMENT A-2

                                PREMISES TO BE SEARCHED

        The SUBJECT PREMISES 2 is the premises at 439 Admiral Street, Apt 3, Providence,
RI 02908. SUBJECT PREMISES 2 is described as a multi-family home. SUBJECT
PREMISES 2 is a multi-family home directly across the street from Providence Fire Department
Engine Co. 12 located at the corner of Dante Street and Admiral Street. The numbers “439” is
clearly marked in black numbers on the front door.

         The area to be searched at the SUBJECT PREMISES 2 includes all rooms, annexes,
attics, basements, porches, garages, carports, outside yard area, curtilage, mailboxes, trash
containers, debris boxes, storage lockers, locked containers and safes, lockers, sheds, and any
visible structures and outbuildings associated with the SUBJECT PREMISES 2 and shall extend
into desks, cabinets, safes, briefcases, backpacks, wallets, purses, digital devices, and any other
storage locations within SUBJECT PREMISES 2.

       The search shall also include any computers, cellular telephones, storage media/medium,
and digital devices.

       The search shall also include any person located at the SUBJECT PREMISES 2, as
defined above, at the time the search warrant is executed, and any computers, cellular telephones,
storage media/medium, briefcases, backpacks, wallets, purses on such persons.
                                      ATTACHMENT B-2

   A. ITEMS TO BE SEIZED

The following materials, which constitute evidence of the commission of a criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as a means of committing a criminal offense, namely violations of Bank Fraud in violation
of 18 U.S.C. § 1344, Wire Fraud in violation of 18 U.S.C. § 1343, Conspiracy to Commit Wire
and Bank Fraud in violation of 18 U.S.C. § 1349, Aggravated Identity Theft in violation of 18
U.S.C. §1028A, and Felon in Possession of a Firearm in violation of 21 U.S.C. 922(g)(1):

   1.      Records and other materials, including notes, ledgers, envelopes, and packaging
           materials, relating to solicitation and/or receipt of cash, money orders, checks, or wire
           transfers that were sent to Terrance RICHARDSON, to known and unknown
           conspirators, including but not limited to, Patrick Johnson, Patricia Johnson, and
           Richard Koboi, and to entities in the name of or associated with Terrance
           RICHARDSON’

Records and other materials, including notes, ledgers, envelopes, and packaging materials,
relating to receipt of cash, money orders, counterfeit checks, or wire transfers that were involved
in the fraud scheme;
    2.       Records relating to any communications by, between, and among Terrance
             RICHARDSON, victims, and known and unknown conspirators, including but not
             limited to, Patrick Johnson, Patricia Johnson, and Richard Koboi relating to the
             receipt, solicitation, and transfer of funds and/or any counterfeit check cashing
             scheme;

   3.      Records relating to the means of identifications including, but not limited to name,
           social security number, date of birth of other individuals, banking account
           information of other individuals, and the use and/or creation of false identifications
           and personas.

   4.      Any and all opened or sealed USPS Priority or other mail envelopes and packages
           and receipts of the mailing transactions in relation to any counterfeit check scheme
           and/or the transfer and receipt of funds between the subjects of the investigation and
           other persons;

   5.      Records relating to the use, possession, and control of cellular telephones seized from
           the SUBJECT PREMISES 2 and/or any person located therein, and any landline
           telephones or internet service associated with the SUBJECT PREMISES 2;

   6.      Records relating to any communications with co-conspirators and victims, including
           telephone, electronic, or in person communications with co-conspirators and victims
           in relation to the specified federal offenses, any counterfeit checks, the transfer and
           receipt of funds between the subjects of the investigation and other persons;
7.    Records, documents, and deeds reflecting the purchase or lease of real estate,
      vehicles, precious metals, jewelry, or other items obtained with the proceeds from a
      fraud;

8.    Documents and articles of personal property reflecting the identity of persons and/or
      entities occupying, possessing, residing in, owning, frequenting, or controlling the
      SUBJECT PREMISES 2, including keys, rental agreements and records, utility bills
      and receipts, photographs, answering machine tape recordings, telephone, vehicle
      records, canceled mail envelopes, correspondence, financial documents such as tax
      returns, bank records, safety deposit box records, canceled checks, and other records
      of income and expenditure, credit card records, travel documents, personal
      identification documents, including birth certificates, driver’s license, immigration
      cards, and other forms of identification;

9.    Any records which document an association with co-conspirators, including
      photographs, video and audio recordings;

10.   All notes, documents, records, correspondence, diaries, and address books, in any
      format or medium (including, but not limited to, computer or digital data files,
      envelopes, letters, papers, handwritten notes, and electronic messages, chat logs and
      electronic records) in relation to a counterfeit check scheme and/or the transfer and
      receipt of funds between the subjects of the investigation and other persons;

11.   Checks, ATM deposit/withdrawal receipts, stock paper for producing counterfeit
      checks;


12.   Banking, money remitter, and financial institution records, including but not limited
      to bank statements, credit card statements, canceled checks, money orders, deposit
      slips, orders for receipt or sending of money transfer by wire, checking and savings
      books, financial institution statements, records of safe deposit boxes, and debit cards
      in RICHARDSON’s name and other people’s names;

13.   Clothing and jewelry worn by Terrance RICHARDSON while depositing counterfeit
      checks or withdrawing funds following the deposit of a counterfeit check including an
      orange shirt with black outline and a gold necklace and diamond pendant with the
      name “TEE BONE”;

14.   Firearms and ammunition, photographs of firearms and ammunition, and
      communications with respect to firearms and ammunition;

15.   Handwritten documents associated with Terrance Richardson.

16.   For any computer or storage medium whose seizure is otherwise authorized by this
      warrant, and any computer or storage medium that contains or in which is stored
      records or information whose seizure is authorized by this warrant, including any cell
      phones and printers (hereinafter, "COMPUTER"):

      a. evidence of who used, owned, or controlled the COMPUTER at the time the
         things described in this warrant were created, edited, or deleted, such as logs,
         registry entries, configuration files, saved user names and passwords, documents,
         browsing history, user profiles, email, email contacts, "chat," instant messaging
         logs, photographs, and correspondence;
      b. evidence of software that would allow others to control the COMPUTER, such as
         viruses, Trojan horses, and other forms of malicious software, as well as evidence
         of the presence or absence of security software designed to detect malicious
         software;
      c. evidence of the lack of such malicious software;
      d. evidence indicating how and when the computer was accessed or used to
         determine the chronological context of computer access, use, and events relating
         to the crimes under investigation and to the computer user;
      e. evidence indicating the computer user's knowledge and/or intent as it relates to
         the crimes under investigation;
      f. evidence of the attachment to the COMPUTER of other storage devices or similar
         containers for electronic evidence;
      g. evidence of programs (and associated data) that are designed to eliminate data
         from the COMPUTER;
      h. evidence of the times the COMPUTER was used;
      i. passwords, encryption keys, and other access devices that may be necessary to
         access the COMPUTER;
      j. documentation and manuals that may be necessary to access the COMPUTER or
         to conduct a forensic examination of the COMPUTER;
      k. records of or information about Internet Protocol addresses used by the
         COMPUTER; and
      l. records of or information about the COMPUTER's Internet activity, including
         firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"
         web pages, search terms that the user entered into any Internet search engine, and
         records of user-typed web addresses.

      The term “computer” includes all types of electronic, magnetic, optical,
      electrochemical, or other high-speed data processing devices performing logical,
      arithmetic, or storage functions, including desktop computers, notebook computers,
      mobile/cellular phones, tablets, server computers, and network hardware. The term
      “storage medium” includes any physical object upon which computer data can be
      recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-
      ROMS, and other magnetic or optical media.

17.   Routers, modems, and network equipment used to connect computers to the Internet.

18.   As used in this Attachment, the terms “records” and “information” includes all forms
      of creation or storage, including any form of computer or electronic storage (such as
              hard disks or other media that can store data); any handmade form (such as writing);
              any mechanical form (such as printing or typing); and photographic form (such as
              microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
              photocopies).

      19.     With respect to any and all electronically stored information in cellular telephones, in
              addition to the information described herein, agents may also access, record and seize
              the following:
              a. Telephone numbers of incoming/outgoing calls stored in the call registry;
              b. Digital, cellular and/or telephone numbers and/or direct connect numbers, names
                  and identities stored in the directories;
              c. Any incoming/outgoing text messages relating to the above criminal violations;
              d. Telephone subscriber information;
              e. The telephone numbers stored in the cellular telephone and/or PDA;
              f. records relating to the use, possession, and control of any cellular telephones
                  seized;
              g. Any other electronic information stored in the memory and/or accessed by the
                  active electronic features of the digital or cellular telephone including but not
                  limited to photographs, videos, e-mail, and voice mail relating to the above
                  criminal violations.

      20.     Contextual information necessary to understand the evidence described in this
              attachment.

II.         AUTHORIZED SEARCH PROCEDURE

      1.      Law enforcement personnel or other individuals assisting law enforcement personnel
              (the “search team”) will, in their discretion, either search the digital device(s) on-site
              or seize and transport the device(s) and/or forensic image(s) thereof to an appropriate
              law enforcement laboratory or similar facility to be searched at that location.

      2.      In order to search for the items described above that may be maintained in electronic
              media, the search team are authorized to search, copy, image and seize the following
              items for off-site review:
              a. Any computer or storage medium capable of being used to commit further or
                  store evidence of the Specified Federal Offenses; and
              b. Any physical keys, encryption devices, dongles and similar physical items that are
                  necessary to gain access to the computer or storage medium;

      3.      Pursuant to Rule 41(f)(1)(B), the government will retain a copy of the electronically
              stored information that was seized or copied for the purpose of the evidentiary
              authentication and any potential discovery obligations in any related prosecution.

      B. SEARCH PROCEDURE FOR DEVICES CAPABLE OF BIOMETRIC ACCESS

      1. During the execution of this search warrant, law enforcement is permitted to:
           a. depress the TERRANCE RICHARDSON’s thumb and/or fingers onto the
              fingerprint sensor of the device (only when the device has such a sensor), and
              direct which specific finger(s) and/or thumb(s) shall be depressed; and
           b. hold the device in front of the TERRANCE RICHARDSON’s face with his eyes
              open to activate the facial-, iris-, or retina-recognition feature, in order to gain
              access to the contents of any such device.

In depressing a person’s thumb or finger onto a device and in holding a device in front of a
person’s face, law enforcement may not use excessive force, as defined in Graham v. Connor,
490 U.S. 386 (1989); specifically, law enforcement may use no more than objectively reasonable
force in light of the facts and circumstances confronting them.

The special procedures relating to digital devices found in this warrant govern only the search of
digital devices pursuant to the authority conferred by this warrant and do not apply to any search
of digital devices pursuant to any other court order.
                                      ATTACHMENT A-3

                                PREMISES TO BE SEARCHED

        The SUBJECT PREMISES 3 is the premises at 91 Hartford Avenue, Apt 131,
Providence, RI 02909. SUBJECT PREMISES 3 is described as multi-unit loft apartments.
SUBJECT PREMISES 3 are multi-unit loft apartments directly across the street from Olneyville
Post Office located on Hartford Avenue just prior to the Route 6 on-ramp. The numbers “91” is
clearly marked in black numbers on the Hartford Ave entrance. The main entrance to the
apartment building is in the rear parking lot on the adjacent side of the building.

         The area to be searched at the SUBJECT PREMISES 3 includes all rooms, annexes,
attics, basements, porches, garages, carports, outside yard area, curtilage, mailboxes, trash
containers, debris boxes, storage lockers, locked containers and safes, lockers, sheds, and any
visible structures and outbuildings associated with the SUBJECT PREMISES 3 and shall extend
into desks, cabinets, safes, briefcases, backpacks, wallets, purses, digital devices, and any other
storage locations within SUBJECT PREMISES 3.

       The search shall also include any computers, cellular telephones, storage media/medium,
and digital devices.

       The search shall also include any person located at the SUBJECT PREMISES 3, as
defined above, at the time the search warrant is executed, and any computers, cellular telephones,
storage media/medium, briefcases, backpacks, wallets, purses on such persons.
                                      ATTACHMENT B-3

   A. ITEMS TO BE SEIZED

The following materials, which constitute evidence of the commission of a criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as a means of committing a criminal offense, namely violations of Bank Fraud in violation
of 18 U.S.C. § 1344, Wire Fraud in violation of 18 U.S.C. § 1343, Conspiracy to Commit Wire
and Bank Fraud in violation of 18 U.S.C. § 1349, Aggravated Identity Theft in violation of 18
U.S.C. §1028A, and Felon in Possession of a Firearm in violation of 21 U.S.C. 922(g)(1)::

   1.      Records and other materials, including notes, ledgers, envelopes, and packaging
           materials, relating to solicitation and/or receipt of cash, money orders, checks, or wire
           transfers that were sent to Richard KOBOI, to known and unknown conspirators,
           including but not limited to, Patrick Johnson, Patricia Johnson, and Terrance
           Richardson, and to entities in the name of or associated with Richard KOBOI.

   2.      Records and other materials, including notes, ledgers, envelopes, and packaging
           materials, relating to receipt of cash, money orders, counterfeit checks, or wire
           transfers that were involved in the fraud scheme;
   3.      Records relating to any communications by, between, and among Richard KOBOI,
           victims, and known and unknown conspirators, including but not limited to, Patrick
           Johnson, Patricia Johnson, and Terrance Richardson relating to the receipt,
           solicitation, and transfer of funds and/or any counterfeit check cashing scheme.

   4.      Records relating to the means of identifications including, but not limited to name,
           social security number, date of birth of other individuals, banking account
           information of other individuals, and the use and/or creation of false identifications
           and personas.

   5.      Any and all opened or sealed USPS Priority or other mail envelopes and packages
           and receipts of the mailing transactions, in relation to any counterfeit check scheme
           and/or the transfer and receipt of funds between the subjects of the investigation and
           other persons;

   6.      Records relating to the use, possession, and control of cellular telephones seized from
           the SUBJECT PREMISES 3 and/or any person located therein, and any landline
           telephones or internet service associated with the SUBJECT PREMISES 3;

   7.      Records relating to any communications with co-conspirators and victims, including
           telephone, electronic, or in person communications with co-conspirators and victims
           in relation to the specified federal offenses, any counterfeit checks, the transfer and
           receipt of funds between the subjects of the investigation and other persons;
8.    Records, documents, and deeds reflecting the purchase or lease of real estate,
      vehicles, precious metals, jewelry, or other items obtained with the proceeds from a
      fraud;

9.    Documents and articles of personal property reflecting the identity of persons and/or
      entities occupying, possessing, residing in, owning, frequenting, or controlling the
      SUBJECT PREMISES 3, including keys, rental agreements and records, utility bills
      and receipts, photographs, answering machine tape recordings, telephone, vehicle
      records, canceled mail envelopes, correspondence, financial documents such as tax
      returns, bank records, safety deposit box records, canceled checks, and other records
      of income and expenditure, credit card records, travel documents, personal
      identification documents, including birth certificates, driver’s license, immigration
      cards, and other forms of identification;

10.   Any records which document an association with co-conspirators, including
      photographs, video and audio recordings;

11.   All notes, documents, records, correspondence, diaries, and address books, in any
      format or medium (including, but not limited to, computer or digital data files,
      envelopes, letters, papers, handwritten notes, and electronic messages, chat logs and
      electronic records) in relation to a counterfeit check scheme and/or the transfer and
      receipt of funds between the subjects of the investigation and other persons;

12.   Checks, ATM deposit/withdrawal receipts, stock paper for producing counterfeit
      checks;


13.   Banking, money remitter, and financial institution records, including but not limited
      to bank statements, credit card statements, canceled checks, money orders, deposit
      slips, orders for receipt or sending of money transfer by wire, checking and savings
      books, financial institution statements, records of safe deposit boxes, and debit cards
      in KOBOI’s and other people’s names;

14.   Clothing and jewelry worn by Richard KOBOI while depositing counterfeit checks or
      withdrawing funds following the deposit of a counterfeit check including an yellow
      sweatshirt with the word “passion” written in black lettering on the front and two gold
      necklaces, one with a padlock shaped pendant and the other a rectangle shaped
      pendant.

15.   Firearms and ammunition, photographs of firearms and ammunition, and
      communications with respect to firearms and ammunition;

16.   Handwritten documents associated with Richard KOBOI.
17.   For any computer or storage medium whose seizure is otherwise authorized by this
      warrant, and any computer or storage medium that contains or in which is stored
      records or information whose seizure is authorized by this warrant, including any cell
      phones (hereinafter, "COMPUTER"):

      a. evidence of who used, owned, or controlled the COMPUTER at the time the
         things described in this warrant were created, edited, or deleted, such as logs,
         registry entries, configuration files, saved user names and passwords, documents,
         browsing history, user profiles, email, email contacts, "chat," instant messaging
         logs, photographs, and correspondence;
      b. evidence of software that would allow others to control the COMPUTER, such as
         viruses, Trojan horses, and other forms of malicious software, as well as evidence
         of the presence or absence of security software designed to detect malicious
         software;
      c. evidence of the lack of such malicious software;
      d. evidence indicating how and when the computer was accessed or used to
         determine the chronological context of computer access, use, and events relating
         to the crimes under investigation and to the computer user;
      e. evidence indicating the computer user's knowledge and/or intent as it relates to
         the crimes under investigation;
      f. evidence of the attachment to the COMPUTER of other storage devices or similar
         containers for electronic evidence;
      g. evidence of programs (and associated data) that are designed to eliminate data
         from the COMPUTER;
      h. evidence of the times the COMPUTER was used;
      i. passwords, encryption keys, and other access devices that may be necessary to
         access the COMPUTER;
      j. documentation and manuals that may be necessary to access the COMPUTER or
         to conduct a forensic examination of the COMPUTER;
      k. records of or information about Internet Protocol addresses used by the
         COMPUTER; and
      l. records of or information about the COMPUTER's Internet activity, including
         firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"
         web pages, search terms that the user entered into any Internet search engine, and
         records of user-typed web addresses.

      The term “computer” includes all types of electronic, magnetic, optical,
      electrochemical, or other high-speed data processing devices performing logical,
      arithmetic, or storage functions, including desktop computers, notebook computers,
      mobile/cellular phones, tablets, server computers, and network hardware. The term
      “storage medium” includes any physical object upon which computer data can be
      recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-
      ROMS, and other magnetic or optical media.

18.   Routers, modems, and network equipment used to connect computers to the Internet.
      19.     As used in this Attachment, the terms “records” and “information” includes all forms
              of creation or storage, including any form of computer or electronic storage (such as
              hard disks or other media that can store data); any handmade form (such as writing);
              any mechanical form (such as printing or typing); and photographic form (such as
              microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or
              photocopies).

      20.     With respect to any and all electronically stored information in cellular telephones, in
              addition to the information described herein, agents may also access, record and seize
              the following:
              a. Telephone numbers of incoming/outgoing calls stored in the call registry;
              b. Digital, cellular and/or telephone numbers and/or direct connect numbers, names
                  and identities stored in the directories;
              c. Any incoming/outgoing text messages relating to the above criminal violations;
              d. Telephone subscriber information;
              e. The telephone numbers stored in the cellular telephone and/or PDA;
              f. records relating to the use, possession, and control of any cellular telephones
                  seized;
              g. Any other electronic information stored in the memory and/or accessed by the
                  active electronic features of the digital or cellular telephone including but not
                  limited to photographs, videos, e-mail, and voice mail relating to the above
                  criminal violations.

      21.     Contextual information necessary to understand the evidence described in this
              attachment.

II.         AUTHORIZED SEARCH PROCEDURE

      1.      Law enforcement personnel or other individuals assisting law enforcement personnel
              (the “search team”) will, in their discretion, either search the digital device(s) on-site
              or seize and transport the device(s) and/or forensic image(s) thereof to an appropriate
              law enforcement laboratory or similar facility to be searched at that location.

      2.      In order to search for the items described above that may be maintained in electronic
              media, the search team are authorized to search, copy, image and seize the following
              items for off-site review:
              a. Any computer or storage medium capable of being used to commit further or
                  store evidence of the Specified Federal Offenses; and
              b. Any physical keys, encryption devices, dongles and similar physical items that are
                  necessary to gain access to the computer or storage medium;

      3.      Pursuant to Rule 41(f)(1)(B), the government will retain a copy of the electronically
              stored information that was seized or copied for the purpose of the evidentiary
              authentication and any potential discovery obligations in any related prosecution.
   B. SEARCH PROCEDURE FOR DEVICES CAPABLE OF BIOMETRIC ACCESS

   1. During the execution of this search warrant, law enforcement is permitted to:

           a. depress RICHARD KOBOI’s thumb and/or fingers onto the fingerprint sensor of
              the device (only when the device has such a sensor), and direct which specific
              finger(s) and/or thumb(s) shall be depressed; and
           b. hold the device in front of RICHARD KOBOI’s face with his eyes open to
              activate the facial-, iris-, or retina-recognition feature, in order to gain access to
              the contents of any such device.

In depressing a person’s thumb or finger onto a device and in holding a device in front of a
person’s face, law enforcement may not use excessive force, as defined in Graham v. Connor,
490 U.S. 386 (1989); specifically, law enforcement may use no more than objectively reasonable
force in light of the facts and circumstances confronting them.

The special procedures relating to digital devices found in this warrant govern only the search of
digital devices pursuant to the authority conferred by this warrant and do not apply to any search
of digital devices pursuant to any other court order.
                                      ATTACHMENT C-1


                                    Property to Be Searched


       The cellular telephone assigned call number (401) 677-9165, IMSI: 310260270097507
("TARGET PHONE #1"), whose wireless service provider is T -Mobile, a company located out
of Parsippany, New Jersey.
       Information about the location of TARGET PHONE #1 that is within the possession,
custody, or control of T -Mobile, including information about the location of the cellular
telephone if it is subsequently assigned a different call number.
                                      ATTACHMENT C-2


                                    Property to Be Searched


       The cellular telephone assigned call number (267) 854-9972, ("TARGET PHONE #2)
whose wireless service provider is T -Mobile, a company located out of Parsippany, New Jersey.
       Information about the location of TARGET PHONE #2 that is within the possession,
custody, or control of T -Mobile, including information about the location of the cellular
telephone if it is subsequently assigned a different call number.
                                          ATTACHMENT D


                                   Particular Things to be Seized
    I.       Information to be Disclosed by the Provider
          All information about the location of the TARGET PHONES #1 and #2 described in
Attachment A-1 and A-2 for a period of thirty days, during all times of day and night.
"Information about the location of the TARGET PHONES" includes all available E-911 Phase II
data, GPS data, latitude­ longitude data, and other precise location information, as well as all
data about which "cell towers" (i.e., antenna towers covering specific geographic areas) and
"sectors" (i.e., faces of the towers) received a radio signal from the cellular telephone described
in Attachment A.
          To the extent that the information described in the previous paragraph (hereinafter,
"Location Information") is within the possession, custody, or control of T-Mobile, T-Mobile is
required to disclose the Location Information to the government. In addition, T-Mobile must
furnish the government all information, facilities, and technical assistance necessary to
accomplish the collection of the Location Information unobtrusively and with a minimum of
interference with T-Mobile's services, including by initiating a signal to determine the location of
the TARGET PHONES on T-Mobile network or with such other reference points as may be
reasonably available, and at such intervals and times directed by the government. The
government shall compensate T-Mobile for reasonable expenses incurred in furnishing such
facilities or assistance.
          This warrant does not authorize the seizure of any tangible property. In approving this
warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18
U.S.C. § 3103a (b).


    II.      Information to Be Seized by the Government
                 All information described above in Section I that constitutes evidence of
violations of 18 U.S.C. § 1344 (Bank Fraud),18 U.S.C. § 1349 (Conspiracy to Commit Bank
Fraud), and 18 U.S.C. § 1028A (Aggravated Identity Theft) involving Terrance RICHARDSON,
Richard KOBOI and others.
       Law enforcement personnel (who may include, in addition to law enforcement officers
and agents, attorneys for the government, attorney support staff, agency personnel assisting the
government in this investigation, and outside technical experts under government control) are
authorized to review the records produced by the Provider in order to locate the things
particularly described in this Warrant.
